      Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 1 of 91



                                 UNITED STATES CAPITOL POLICE
                                                                                                ain
                                                                                                ons
                           DEMONSTRATION ENDORSEMENT SHEET

‘SESNUMBER          nn
                                                                                Ps    Typeriecgi
 Recommendation ofC.0, Special Events                           ApprovalG_ Disapproval
                                                                                     Q Comment    @
0126.00Fa,Worms
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                  ier lovd                                             Faint  wilExisting Manpower 0
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         - Virginia Freedom Keepers|    -1800; 50 ppl)
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Prowciv and ineligece Operas                                Appr ig) [7] Dopp]
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 RecommendationofChiefaf Police                                ‘Approv [7] Ovpproval [] Comment []

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   Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 2 of 91



       =                   UNITEDSTATES CAPITOLPOLICE BOARD                                    ses
HENe                  WASHINGTON,
                               D.C. 20510                 Phone: 202-224-9506                  wie
 Mf
 net             TERMITR         TODEMONSTRATIONACTIVITIESON
                                         ELATING
                       UNITED STATES CAPITOL GROUNDS
                                   Sesh)
(1) SPONSO  PERSONANDORORGANIZATION:
                          RING
      OneNationUnderGod
( AREAOF CAPITOL GROUNDS TO BE INVOLVED.
      SenseEastFon, Grassy Area §(sounded
                                      byConnon Avenue, NE: Fir Sct, NE; Northen
           Drive
            andtheEast Front Plaza)
(3) DATE, TIME, AND DURATION:
    DATE Wednesday, omory 6.2021         TIME: 0800-1800 huss        DURATION: 10ars
                                              Includesstup. ke down)
@) NUMBER      OFPARTICIPANTS:
            2
(5) PROPSANDEQUIPMENT:
          Fifty (50)handheld signs placarés
       % One    (1)podium
       5 One(1) age12'L x 12 x24°H)withadjustablesuis
       +One(1)megaphone
         One(1) poblesoundsystemconsistingof
             * Two (2)EVsx300P)2-way speakers (16"Lx23"Wx 12"H); secured on iripodstands (5'H)
                postioned onexchsideofthesige
             + One(1)Shure SM38Smicrophone
             +One(1) Yomaladigital ming console
             *One(1)CrownI-Tech 5000 HDamplifier
             + Two 2) 2400w inven brypowersgply
       © Disibui             erat oiirestedprisonly
                                              ono
       5 Elecriclpowerhasnotbenrequested,no i avilable issie
“Thespokespers       hasbeenadvised on ofthe allowing:
       "% “lls cannot     beted [nailed sisple oraffine] osny tessfixurs. Nonbreathable mat ic.
           plasticplywood,etc)isproibied fromdirectlycovering rfor ler vin lndscapest.Post and
           sales ustbenomore han "in diameter nserednodeeper han9° inotheground,andspproved by
            US. Capitol Police Special Events wit ins reviewbytheAcieof he Capo”
          BsrtheArchitest ofthe Canitlonly nataralburlapsandbags areallowedforuscontheturf to.
          protectthegroundsfromanydamage. Nosynthetic o pastewovensandbagsareallowed.
       + Fiigh Restacion:Nosingleprop,pice ofcuipment         o combination here may exceed ile (15)
           esti eight.
            Stages, RisersandPltfors:No so, iseo pldorm mayexceed wo(2)fetinheight.
       # Music     -Inaccordancewiththe Trac Regulations forthe UnitedSisesCapitoGrounds, Section 12.130 (5)
           “CeremonialEvent &Entersinment”msicls re no considereddemontaionsand          requireCapil Police
          BourdApproval,
           Thevolumeofthsoundwilbekept 08 minimum           anddicectedwy from Congressional Office Bildings.
         Tripodsandlighingcqipment aeauthorizedongrassy resonlyand mustnfimpedepedestrianor
            vehicular rac.Photos fim aken most ntbe wed foray commercial purpscs.
         Tents,cabinas,canopies or any othercoveredsrctursar expresslypoRIied
       “Solicitation,commercialization,and/oradvertisementofanykindareexpresslyprohibited.
       “Deliveryvehll(mustre            port 1o USCP OI-it Delvry, 4700 Shepherd Parkoray, SW,  fo aii
         sezecalng(Monday throughFridayduringoperational      Jour 0430-1300 hours). Then—
        Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 3 of 91



    V      N-                       UNITEDSTATESCAPITOL POLICE BOARD                                      hue
    AS                        WASHINGTON, D.C. 20510               Phone: 202-224-9806                    ane
        at               PERMIT RELATINTOG DEMONSTRATION ACTIVITIES ON
        RE                       "UNITED STATES CAPITOL GROUNDS
                                            SESH 212.23
             Deliveryvehicle(s)mustreportto New Jerseyand CStreet,NW for secondaryscreening(Arrival
             afier 1300hoursandontheholidaysand weekends.delivery vehicle(s)will respondiothis locationfor
              initialscreeningonly).
           © Deliveryvehiclesmust unloadan reloadequipannt longthewestcurbofFirstStreet,NE.
             (sched cutoutarea) betweenConstiuon Avenue ndEastCapitolSree,NE.
           “Upon unloading, delivery vehicle(s) must departCapitol Grounds and not return until conclusion
              oftheevent.
              DELIVERY VEHICLE(S) MUSTNOT BE LEFT UNATTENDED ATANYTIME.
           + EQUIPMENTMUST BE HAND-CARRIED              OR HAND-CARTED      TO THE EVENTSITE.
              BARRICADE ACCESS ISNOT PERMITTED,
           + FIRSTRESPONDERS PERSONNEL WILL INSPECT ALL PROPSAND EQUIPMENT, AND
              MONITOR THE EVENT.
        ‘NOTE:BARKING1SNOT
                  AUTHOR                                 ONCAPITOLGROUNDS.
                                                            IZED
    (6) The sulhoized. person or organization named in clause (1) of he Permit is ented 10 wis the ara of the
        Uritcd States Capitol Grounds described in cause (2) and ay props or cquipmen described ncluse5) ofthis
        Pei in canyig ow, ducing he dtc and ime st forth in cause (3) of this Peni, heir righ 0 cngage
        pesceble and orderly demonstration seve (3 defined 1m Capler 12, Section 121.10 of the Trafic
        Regpltionsfordhe United Sais Capiol Grounds).
+   (1 Capitol,
        Ino tocalloassureth     aft    an conenience ofle peopl n he exerciseofhee gh 1 vistth Nation's
                         at the offices ofRepresentatives and Senators,toobserve public proceedingsof Congress, to
        petition he Congress for essofgricuance,cngage in pesceable andodery conductofany hearin before, or
        any deletion of, ny coma             orsubcommiteeofthe conges House hes, ofuvessonsbly
        interfere withthe intenanceofgoodorder on he Capitol Grounds,orcer    the Capitol Police Board hereby nudes
        patoftis Permit he Following condions nd tim imitations hich he Copia Police Booed has deri
        necesay incrder 1 mimmize th oben pedi                         ofsehicalarand
                                                                         ment esalc ncluding pedesvian
        rT) troughorwii he opie Grounds and to sere the safety there:
            (6) Inthe even   anofficial function is schedule tht could conc with his demonsirtion, the
                 demonstrator wil cer therespective ace peor 534 facon, adeu ae aid (uncon has
                 epaned the Capitol Grounds.
            0)Anydisplayofsigs, banners, placards, and related em s sity protibited side ll Capitol
                 Buildings. Literate may nok be drole he hallways ofanybuilding on Capit Grounds.
            (6) is forbidden offer       o expose snysniclefoc se in sid nied States Capitol Grounds; 0 displayany
                sig, placard    orcbcfor
                                       , ofadvertisement erin solic Frcs, sme upsrpion, orconsions
                 ern.
                Thseuing op, laces, or storageof camping uipmen, ens, seeping bags, bed, bingofany
                 indorsheler     ofany ind, t any lm, 1 probiie. Any seepingo ing-down on the paved of
                 improved pori      ofth Buildings and Grounds such set, roads, sidewalk, walkways, Seps,
                 curb, gues, doorways,ons   coves, wal) amyie 1 poke. Any seeping of lying-dowonany            n
                 unpaved, or unimproved (Ess) portion ofthe Grounds fomone-hlhourale suns 0 one-half
               ‘before sunrisc, is prohibited.                                                             -
           {e) Immediately upon the conclusion of the demonstration activity carried out pursuant fo this permit, all
               pros, copment an flies permitedunderCopter 12 Seton 12.510 of te Trae Regulations for
               Capitol Grounds, which have been eed in connccion with such sci shal be removed by the
               applica fom Capitol Grounds. Fier, the applica shall ak sch ation 35 may be ésessary 0 8.
Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 4 of 91



                       UNITED STATES CAPITOL POLICE BOARD                                Fa
Ue              WASHINGTON, D.C. 20510   Phone: 202-224-9806                             LL)
Wt            PERMIT RELATINGTO DEMONSTRATION ACTIVITIES    ON
De                         UNITED STATES CAPITOL GROUNDS
                                      Ses#a01223
      10 leave the Capitol Grounds in ss ressonably good and clean a condilon as lat which ised
      immediately prio 1he commencementofsuchactivity.
  (As
    a condition precedent tothe issuance
                                    ofthis Permit, sll participants in the proposed
      demonsiraton (sarade, convocation,ei) shall ere no tocary on ish personany ream,cxplosive,
      cub, missile, chemicalor thrincendiary deviceoranyalhercapon;    candles, toxchs, iene, np,
      ec. while ignited:or 0caus 0becomelgtedsny giable marafor             hepurposeofproducinga
      fame. Further af pricipats shall agree not ocary sny supportfor ign, bneers,placards, ec which
      ismor han ic quanrs fannch squat t syst poi. All sppons mus ave                 dulcosard
     canon anywaybecorsued5 3weapon. Ther shallbeno ails,sre, obolype steningdevices
      proving from anysupport.


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                                                 UnitedSate Capitol Police Board

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                                                   itedStes Capital Pic Boar
         Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 5 of 91



                                  UNITED STATES CAPITOL POLICE
                               SPECIAL ATTENTION MEMORANDUM
  am                                                                                                oon
  Time Forwarded:                                                     SES Number: 20.1223
  Date Forwarded:                                                     SESCoordinator: JEESNIERS
DaeScheduled:                   Wednesday, January6,2021
 Time:                          0800-1500 hours ncluces setup takedown)
  Duration:                      10bours
  Number of Participants:       50
Location(s:                    SenseEastFon, Gasy Area8 boundedbyConsiion Aveave, NE; Firs Steet, NE;
                                Norhess Deve an thEast Front Plza)
  Name(s:                      One Nation Under God
  TypeofEvent:                  Denonsicion
 Spokesperson:                  Siphen Brown
 Telephone Number(s):          (©) (63m
 Spolespersons Address:        OnFile in Special Events
 NOTE:                              In accordance with StandardOperatingProcedure AC-000-63, the Section
                                   ‘Commanderfor heFirst Responders Uni, Sections  TwoandThree wilbe
                                   responsible for completing
                                                            a Follow-Up Report CP-44, within three workingdaysof
 Remarks:                            is event.
       RE                     Smtp
                                 Oc es
        OnWednesday,Jury 6, 2021,between 0800 snd 1800hous, agprorimatlyfifty(50) paricipanisrepre
 spokespersondiscs
 Tc woe0900. 100hours pdy:     urposeOf he venbs “demonstration for lectionfa iSing ais Th sc evn
       Mediawilbenvtedotiseven.No CivilDisbedience isplanned.
        Perthespokesperson,thefollowingMembers of Congresshaveconfirmedthatthey willattend this event:
             +" Reprsentive   Mois JacksonMo" Brooks
             © Repreentlive    Andy Biges
        hefollowingprossqipmentar aubarized:
                 Fifty(50)handheldsigns. plcards
                One(1) podium
            4 One(1)sage(171 x 12'W x 26°)with stable srs
            +One(1)megaphone
            +One(1) poableoundsystemconsisting of
                  * Two (2) EV sx300PI 2-wayspeakers     (167Lx 23"Wx 12°H);securedontripod stands (5'H) positioned
                     on exchsidofthesage
                  + One  (1)Shure SMSHS microphone
                  + One (1)Yea digital misingconsole
                  + One (1Crown Tech S00HD smplifir
                  + Tuo 2) 2400w inverir       bierpowersoy
  Th mbt et ik ef6 UF ore =PeSyoo Db                                      hei         ese
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       Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 6 of 91


        i                           January 6.2021 feon
             Diseibuion oflearo ered pares aly
            + Elecial power has ot tbee   requested,noris available
                                                                 a is sie
      “The spkesprson hesbeenadvisedofth Following:
           4 “ltems cannot be tied [nailed, stapled or affixed] toany irees/fixtures. Non-breathable material (i.c., plastic,
              plywood, ec)isprobiited from diel covering ur orother vin landscape ase Post and sakes
              must be more than 4 in diameter, need no deeper ban 9 io the round, andproved by US,
              Copia Police Special Eventswih fnlreview by th Architect ofthe Capiol™
           # Pecthe
             Architect         ofthe Capitol, only naturalburlap sandbags
                         gretasasfvmbe                  Nesya et opis areallowedforuse
                                                                                  wove sendbogs sos onth
                                                                                                       aleefurf     to
               Height Restriction: No single prop,piece ofequipment
                                                              orcombination thereof
                                                                               mayexceed fifteen (15) feet
               in height.
             Stages, Risers snd Phforms: No sage cro platformmayexceed two       (2) fst in height
             Musi. naccodenc wihtheTrafic Regionsfo he United StatsCapitol Grounds, Section 12.130
             (©)~Ceremonial Evens& Entensiment” musical x nok considered demonstraions        an requireCapitol
             Police Bord Approval.
             The volume.     hesound will be kept © mimo snddirectedaway rom Congrssioal Oe
             Buildings.
          + Tripodsand lighing equipment ae authored on grassy ress onlysnd must not impede pedestrian or
             vehicular fT. Photos fi take must notbesed or anycommer purposes.
          5 Tens, cubons, cancpis    oraythercovered sutures reexpresly probe.
          4Solicitation,commercialization, and/oradvertisementolany kindareexpresslyprohibited.
             Delivery vehicle(s) must report {o USCP OIF-Site Delivery, 4700 ShepherdPariovay, SW,fo nial
             ssxcenlng (ondoy roughFridayduringoperational       hours0430-1300 ours). Then
          “Deliveryvehicle(s) must report to NewJersey and C Street, NWforsecondaryscreening (Arrival
             afer 1300hoursadon the olay         andweekends, delivery vices) wil espond tis orionfor
            initialscreening only).
           Deliveryvehicle(s) must unload snd reload equipment slong he west curb ofFest Stree, NE
           (nce cut ou ares) between Constitution Avene andEastCapitol Steet, NE.
          + Upon unloading, delivery vehicle(s) must depart Caplio Grounds ad not cers ual conclusion of
             theevent.
          % DELIVERY VEHICLE(S) MUST NOT BE LEFT UNATTENDED ATANYTIME.
          %EQUIPMENTMUST BE HAND-CARRIED OR HAND-CARTED TO THE EVENT SITE.
             BARRICADE      ACCESSISNOTPERMITTED.
             FIRST RESPONDERS         PERSONNEL WILL INSPECTALLPROPS AND EQUIPMENT, AND.
             MONITOR THE EVENT.
     “Thepanicipani wil rive nd depart via public and privae ansportation.Thespoksperson hasbeen advised
ot ne parkag or staging is authorized on Capitol Grounds.
      “TheCapitol Police Board has issued pit for his event.


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                                                                         Coram
       1573500



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        Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 7 of 91




  oo                   US. CAPITOLPOLICE
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                              Washington, D.C 20510
                ApplicatonforPostUndar
          AndMotorV                        Afi XX OfTheTraffic
                      ehicleRegulationsfo UnieSates Capi Grounds
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     dlrSpokesperson                                             =Dualepics
                     oneNatonUcarGod                                22ve0m

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          Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 8 of 91




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       Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 9 of 91




 Eg                                    US. CAPITOL  POLICENE,BOARD             Seon
                                               HSB Eva
                                            Washingin, D. 20510
                              Application for PermitUnderArticle XIXOfThe Traffic.
                        ‘And MotorVehicle RegulationsforUnited States Capitol Grounds
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                                     naNotonUndoGod                                 ning
                                            Toons Busnes                     =r"
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    ovosao2t | Wednesday                                |
 os‘SpeciseaofUSCopia Groundsrequested bbe hand (a.VestFronGrassyArea. UpperSenatePak. Taf Mamaral
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US Capt Grounds lcm USP map
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     Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 10 of 91




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                           Washington, B. 20510
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            nd torVoice Regultions    forUnitedStates pteGrounds
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                                            orsro       Fi        Room 12
                                   Sh         cai
Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 11 of 91




OneMatonUnderGod
 UpdatedVendor/Equipment
                  stsf 12.31.2020


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        Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 12 of 91




 By —_
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 a
 Have you spoken with MPD, NPS, and/orUSPP?Ifsois | N/A


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   the namelistedonthe application submitted
                                        tothem the



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 LEE wel
 ee
 | event? Does yourgrouphave 2 social media account for | be under name One NationUnder God               |




  =r i—— a — o
  How do you plan on supportingyour equipment? Speaker| Supported by participants and placedonstand

  a
 Are you awareof any specificgroup(s)/personis) that     No.

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  Please provide
           thenamesand contactinfoof partners            N/A



[HasthegroupinvitedPresstothe event?                   [witimite                                      |
       Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 13 of 91




                                           CoordinationQuestions
                                            Notes
 Event: One Nation UnderGod
 Date: January 6, 2021 0830-1800hows
Spokesperson: Siphen Brown 36XG
Type: DEMO
  12:212020@ 1538 hours, made contact with spokespersonvi phone, Went to voicemail, voice mail If 0 rtum my
 ell to coordinate iseven onthe6ofJanuary 2021.
(@ 1553 hour, called second number listed on pplication, Went to voicemail, vice mal Ifo retum my cal to
 coondinste is even on the6° offaary 2021.
 @ 1546 Hours. email sent 10 spokesperson. nroducingmyselfand 0 gt In conac th me 0coordinatebisevent
     + Plas se anachod cn
(@ 1615 hours,spokespersonreturn cll. roduc myself5 the coordinatorofher event on Janu , 2021. The
 followingwas discussed:
     + Review apliaion
     «Explained that hr US Capitol Police   can nly peri for 50 perso o es for any actives on Capitol Grounds.
          Scgregaons not allowed, is group will aeto remain in there designer ses fore reader      ofbisvent.
     = Advis himto racic social distancing and 10wear mask uri hr event fo public safety
     «His application doesnot have stat o ed me. Per spokesperson, ime        fvent will be 830-1800 hours.
     + In ddilon, Area i unvailble From 0830-1700 burs buthecan wiz fle 1800 hours ihe wants to say in
          Ara. Available Araonthe West Front    re8and 11. Spokesperson askedwhichreaWomanforAmerica First
          a. explained tht | coud notgive him ht informa.She vised tht his group does not agree with some of
          with Women for America First ea and was ring 0 avidbeing net fo then. He decid 0 go with Area 8
         becausebewassure WomenforAmericaFirstwouldbe inAre 10or 11 andwantedtobe onthe apposite side.
     «Purpose oiseven: doesnot give me any ideofwhat he want lobringan tenon to the thant First
          Amendment demonsicton. He advised estes othe swing votesforthe leon.
     «He will most icy have leraturefodistibution but he appiicaton online dono et you click the bos
     = Portable sound system is Fender Passport Event PA System
     = Spokesperson will end updated aplication with the changes
     + Coontinaton questioncomplete. Plessse tached
 @ 1648hours, follow up emi en 0 spokesperson erin          teabove nfortion
     «Please ses stached email
 12232020@ 1120 hours spokesperson sot email confirming.
     « TheweofArad
     * Astanttime of8am forsetup and6pmtobreakdown.
     «Actual even time 95pm.
     «50 persons    ores forhisevent.
     + Purpose   ofevent lection aud inswingses                        .
      + MOC Mel Brook ad Andy Biggsspaking alongside Al Alexander
      +Pleaseseeavachedemail foraddins infomation                        K
       Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 14 of 91




                                                  Coordination Questions
@ 1136 hours, advised spokesperson to update   the pplication withth changes sen in the email
     o Please sec atached emai for additional information
 12-28-2020 @ 0938 hours, spokewiththspokesperson. The following ws discussed:
     = Advised him ofthat | have no received the updated aplication.Hestated hesent tonhe 23%, 1 asked him to
         resend itbecause| havenotreceived   it.
         Asked him ifthe MOC havebeenconfirmed. he stated ye. The fst ofspeskers ial he has that isconfirmed for
         the event
     «Advised him ofthe vehicle screening procedure. OTe and then New Jersey andC priorto offloading his
         equipment Then screen again ot New Jersey and Cpriorofreloading. Advised hatwecanot permit for parking
         as the vehicle unload they will avetodepartand etum
     = Alo reiterated hat he is responsible for mainiain is numbers 0 50person     or ess for thdurationofhis event. I
         Hedoes nok and i find in violation ofis peamit, appropriate police ection will be takingto include shutting down
         His event
@ 0943 hours, updated application received.
         «Please see tached email
@ 1139 hours called Mr. Brown, went 10 voicemail. message Ie 10 ctu my call at this caliest convince to discuss
details surmoundinghis event
@1208hours, calledthe additional number on the application (567) Mand got a Mr. Nathan Brown who stated:
       Mr. Brown might have placed his number onthe application by mistake he (Mr. Brown) is thecontractor for the
       ‘even. inquired he hasany additional information that he could ive me forth event. Mr. Marin said there
       areafwevents that theyhavegoing on and be does oot know which one 1 ws refering, When | asked abou the
       fear events”, he stated thatthe events were inthe hotels. Mi. Brown would be the best person 0contact for any
       ‘additonal information regarding the One Nation Under God. He only dels with the logistics and thehotel
       bookings forthe event.
@ 1421 hours, Mr.Brown retuned    mycll. The following   wasdiscussed
   = see thats Me. All Alexander listed as aspeakerfo youreventcanyouelborat. Yes, be is the President of
       Stop the Steal andisone ofthe speskers/host (or he day. Mr. Alexander wil bespeskingabout thee o four
      mes 31a ew events on January6, 2021 10 include Freedom Plaza.
   = Whois Nathan Martin? Nathan Marin is associated with Stop the Sealand travels with Ali Alexander. He ssid
      he does not seems 10 have an offical tle buthedeals withthe daily operations to include hotel bookings and car
      rentals. Mr. Brown gos directly with Mi. Martin and Mr.Alexanderregarding coordinating the One Nation
      ‘Under God event. Explained tha when 1 spoke with Ms. Martin he acted as he had 10 information    on the event
      and to go irecly with youFo information. Mr Brown said hat he was shocked tha he would say hat because he
      is in daily communication with Mr. Martin for information regarding the event. He docs not understand why he
       would say that or not give me the information| requested.
   «Ae you awareofthe website Wild Protest? He i personally not awareofthe website He s contracted as the.
      event planneranddoes not deal with the socialmediaaspect.
   + Website:wildprtest com, donorbos org stopthestealus
   +1 gave Mr.Brownthewebsite fo him to look up10seeexactly what |wasreferingto.The website               as amap
     tha hasastar onthemap that says ComeHereinArea andif you lickon the nap thereis asaronArea 9 thal
      says meet her. His intial application requested Area9, which was unavailable, and thn he requested Area 8.            Si.
        Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 15 of 91




                                                 Coordination Questions
        “Thespeakers tht will be speaking a both Stop the ica ad One NationunderGod has AliAlexanderandCJ
         Pearson to namea few. |explained iatitappearsth theStopthe StealandtheOnNation UnderGodis one in
        th sanedue othesimilares andth afliationwith All Alexander | advised Mr. Brownofmy concernsofnot
         beingabe 10 regulate thei numbers10 50 persons   o less. | explained thet once information is on socal media it
         is hard (0 regis th numberofparicipants. Ihis event is infactone onthe same Capitol Police ilno be able:
         10 accommodate his event du  to he pariipant numbersbingautofregulations snd public safety ss. Per
         Mr. Brown he communicatedal th rules with the group (0 include the 50 personoles andthyarcaware that
         hey have 0 ceptheirnumbers regulated 1o 0 persons.
     = Advised tha io th dayofis event and he cannol maintain His numbers ppropeate Police action wil be taken
         include shoring down isevent
     + Also. advised he an ouch base with NPS 1se what ther allowance woud be on 34 Sree Grassy Portion
     + He would ike fo move forward wi is event ss planned with 50 personsforJansry 6 2021
  @ 1750 hour. Email sen othespokesperson fo provide information on how he plans to mintsn his numbers 0 50
 persons or es along with an event timeline.
         «Please see tached email
  12:29:2020 @ 1506 hours, email reminderfopervious email
         «Please see tached mall
 @ 1601hours, spokesperson  called 0inform hah s working       on aplanonhow 0ensurethecrow willminian at 0
 persons
     = Reduce the amountofhours at th Capitol in Arca 8
     «Planing for Frecdom Plaza,tohave themajorspeakers. A he Capitol there will oly have the MOC speshing
     = Cosponsoring heevents a Freedom Plaza       to have longerevent there
     «Hes cenilied Fire Marshal and crowd management 0 he understands why iisbeingsked for the nurmbers to
         marian. He wants 10comply 0beabie      to have safe event with i regulations
     = Headvisedonehehis aconcrete planhewill endit overomorrow
 12:30:2020 made coniact with spokesperson via phon, no answer, If voicemail tummycall.
 (@ 1256 hours, spokesperson sent email with vendor information
 @ 1301 an 1317hoursatlmpied 0make contact with vendor, no answer
(@ 1533 hous, spokesperson sent email with timelineofevents o includethe speakers
     = Pleaseseestached email
 @2239hours,spokesperson    sated ththe hasword     that theevent inArea 9hsbeencancelledandwould lke 0 have:
 hat ara nseadof Arca,
     = Wadvised thtperourrecords Avea is il occupied
 @2331hours,spokesperson    senflyerfo hisevent
 12:31-2020  @ 1109 hours,spokesperson   advisedhahehd ochangehisportable soundsystem
     «Pleaseseestached lis
(@ 1135hours,spokewilh spokespersonandadvised ha |pdthecontact numberforhisvendor                                          2
       Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 16 of 91




                                             Coordination Questions
   . Ec(10) 8508343
@ 1150hours, made contact with Mr. Eric and he explainedwhtal heequipment was.
   + asked specifically about the inverter He sated he bil the equipment and wil be able10send pictures so | can
      see the make-upandsend 0 the Safty Team (or review.
@1238hours,photoof inverterreceived
@ 1244 hour, invertersent 10 AOC Baker for review
@ 1248 hours, AOCBakerdeemed theequipment saf fo use
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                      Jan 6% One NationUnderGod schedule
              (25ofDec30% subjectto change and order of appearance)

8:00am 9:30am Set upatArea 8TheCapital
10:00am Rep. Paul Gosar
10:25am All Alexander
10:30am Rep Marjorie Greens
10:45am Rep Lance Gooden
1:00sm Rep Vernon Jones
11:25am Rep Mark Finchem
130m Sen Doug Mastriano      =Tobeconfirmed
10:45am Rep Anthony Kem
12:000m Rep Lauren Boebert
12:15pm Senator- TBD
12:30pm Ed Martin
12:45pm Rob Weaver
1300pm Roger Stone
13:15pm Or. Simone Gold
13:30pm RoganO'Handley
13:45pm Jenny Beth Martin
1400pm Scott Pressler
165m Clpearson
14:30pm Rose Tenet
14:45pm Jason Jones
15:00pm Brandonstraka
15:25pm Shemaka Michelle
15:30pm Joe Flynn
15:45pm Michael Coudrey
1600 Alex Brueesewitz
16:25pm Kimberely Fletcher
16:30pm Melissa Tate
16:45pm Avina Grossu
17:000m Tim Canova

17:00      Strike
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               FOR OFFICIAL USE ONLY//LAW ENFORCEMENT SENSITIVE//
                  SENSITIVE PERSONALLY IDENTIFIABLE INFORMATION
                                                                                             rane
         =                               |
         4g)                   Demonstration Permit
          ©                               Assessment
        mer
     TITLE: One Nation Under God
     THREATADVISORY: HIGHLY IMPROBABLE
     There Is no specific organization behind the event and it is being organized by several
     Individuals. Eight Congrossional Members are sxpacted to attend this evant. This event is one
     of multiple events permitted on Capitol grounds for Wednesday, January 6, 2021, and counter-
     protesters may be present.

    ‘BackaroundInformation:OneNalionUnderGod ithenameof ris event plamidfooccuron
     Gaplol grounds. There i no speci group thal s organizing tis event and the spokesperson advised
     ‘several individuals are working logether to organize the One Nation Under God event.

    EventSummary: On Wednesday, January 6, 2021, between 0830 and 1800 hours, approximalely fifty
     (50) participants representing One Nation Under God wi conduct a demanstralion on te Senate East
     Front, Grassy Area 8, U.S. Capilol. The spokesperson advised the purpose of the event is a
     “domonstralionfolecion rau n swing sites” The acual event ime wil bo 0300- 1700 hours
     Media wil be invied fo tis even. No Cl Disobedience i planned.
“Per the spokesperson, Representatives Morris Jackson "Mo" Brooks and Andy Biggs confirmed they
     il afer is oven. Severalothrspars, Incuding Reps. Budd, Godden, Gosar, Hic, and
     Representatives-Elect Boebert and Greene, were inviled lo attend; however, no confirmations have
     been received as of thi wring.
     One Nation Under God is not an organization
                                             anddoesnotmaintain social media accountsor
     ‘webpagesperthe spokesperson. Mr. Slephen Brown, (863)GEE. is the point of contact for the
     upcoming event.
      WABHIG: THIS DOCUMENT 1 FOR OFFICIALUSEONLY. IT CONTAINS INFORMATIONTHAT MAY BE LAW |
        ENFORCEMENT SENSITIVE 1T0 BE CONTROLLED, HANDLED, STORED, TRANSMITTED, DISTRIBUTED AND. |
        DISPOSED OFINACCORDANCEWITHUSCP DIRECTIVE211.002 RELATINGTOTHE HANDLING   OFCLASSIFIED
     | (OTHER
        NDOTHERSENSI
              PERSON  TIVE UTUNCLASSIED
                       WHODONOT          INFORMATIONA
                                 HAVEAVALID           ND 1SNOTTO DE BELEASED
                                             ~NEED-T0-KNOW"WITHOUTPRIOR       TOTHEPUBLIC
                                                                          APPROVALOF     AD.08 |||
        THER2ERSONNELWHODONOTHAVEAVAUDTNEED-T0-RNOW
                                  NEL                         WITHOUT RIORAPPROVALOFAAD.
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                   SENSITIVE PERSONALLY IDENTIFIABLE INFORMATION
     ICDComment: There
                  are no plansforparticipants oenter
                                                thebuildings before
                                                                oraftertheevent
                                                                              to
     meetwilhCongressional    staf.Allvough af hi methereisnoadverse iteligencerestedfo the
      upcoming event, thiseventis oneofmultipleeventspermitied onCapitolgroundsforWednesday,
      January6, 2021, andcounter-polestersmaybepresent.Basedon these findings, the Ineligenca and
      Interagency CoordinationDivision assesses the Level of Probabilityofact
                                                                            ofcivil
                                                                                s disobedience/arresls.
     to occurduring theupcomingOneNation UnderGoddemonstrationasHighlyImprobable.

      Informationcontainedin thisdocume
                                    iscurrentasof
                                          nt 12/31/2020
                                                     @ 1000 hours.

      DaeRecsved
              nc 13403


               SCPRiskAssessmentFactors
EE rE
   I                                          =
[Raghbeneds[ase
   TEL aa                               Se
 ET aa                           Te           TT]
  Neat Certain                           500%
     ‘Sources:




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                SENSITIVE PERSONALLY IDENTIFIABLE INFORMAT!ON
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                             UNITED STATES CAPITOL POLICE                              cam
                                                                                       awn
                         DEMONSTRATION ENDORSEMENT SHEET
SESNUMBER            Bu
                                                                    Please Type orpint Legibly)
 RecommendationofC.0. Special Events            Approval G_Disspproval 0 Comment @
 01-06-2021: No MOCHmedi Invied:
                             NoCO    planed.           Facilitate with Existing Manpower Q
(Group1:Womanor aGoalAmerica, Area 10,prayerfor
 hecounty,50po.                                       + Digtalysigned
 Group 2 NowYorkApcsokc PrayerNatok;wea 00; (SFOSSH,by Gross,Scott
 EE
  roup3: Women
inlegity: 50
                  IERre
                      Area 15; rmeron
                                allyfor Soft
                                         Cott
                                              JLJDate:2020.12.24
                                                 . oe          ¥
 Creo 5:On atinUnderGc Are: loci try,                             081947 0500 12m3m020
Sopp!                                               Signature                    Date
Recommendationof CO. Protective ServicesBureau          Approval© Disapproval
                                                                           0 Comment
                                                                                   0


                                                    N/4 dh                   12/3020
                                                 Signature            BN        Date
  RecommendationofAssistant  ChiefofPolice               Approval] Disspproval [| Comment]
Protectiveand IntelligenceOperations                       vere] operat [1                 u


                                                   Y            3.[79              1213020
                                                        akore                   oa
[RecommendationofAssistantChiefofPolice:               Approval[/] Disapproval[_] Comment[/]
 UniformedOperations

 ApprovedforACOP THOMAS                            Pickett, Sgrmeanroe
                                                   Jefheyy. IW                          |
                                                 Signature                      Dale
 RecommendationofChief
                   ofPolice                            ‘Approval[] Disapproval [_] Comment [|


                                                  Sund, Steven Szartr
                                                                    ent
                                                  A            Es                         _
                                                  Signature       -            Date
        Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 21 of 91
a"
a                              UNITED STATES CAPITOL POLICE BOARD                                         KF.i08
BERRS                wasninGTON. DC. 20510                  Phone: 2022243506                             why
Sg                   PERMIT RELATING TO DEMONSTRATION ACTIVITIES ON
    air                              UNITED STATES CAPITOL GROUNDS
                                              SES: 20-12-21
(1) SPONSORING  PERSON ANDOR ORGANIZATION:
         Bryan Lewis
(2) AREA OF CAPITOL GROUNDS TOBE INVOLVED:
          Senate East Front, Grassy Area 9 (bounded by the North Mezzanine sidewalk; First Street, NE;
          Northeast riveand the East Front Plzs)
          NOTE:Thespokesperson as ben advised that the Congressions Press area in the Sate East
          Front Grassy Area is nat # ermilicd arca. The demonsrationis permitted no cose tha thirty
          30) fet Irom the Congresions Pres Area.
(3) DATE, TIME, AND DURATION:
    DATE: Wednesday. Janary 6, 2021            TIME: 0830. 700 hours DURATIONS8 hours
                                                     includes stp and ahe-donr)
(@) NUMBER OF PARTICIPANTS:
          50
(5) PROPS AND EQUIPMENT:
         5 Various Handheld signs placards
         2 One (1) bulbar
             No marshal will be ized fo his event
               Eleucs power has not ben requested, nr i ft unavailable at hs st
    “The 4spokesperson  bis been advised ofthe allowing:
              “Items cannot be tied [mald, stapled or affixed] 1 anytrees fixtures. Non-breathablematerial (i.., plastic,
             plywood,
             Reno   moric)tanis rfid      from nerd
                                                  directly coveringurfober vin landscape sets. Post nd sakes must
                                   nde,                    nodpe 121 9 no the rou,and proved by US. Capit
         +   Police Special Evens   with nal     eve     by  the Architofthe Caio”
                             stare         Canol alyanus         brta sigs
                                     Lk                                                             ; the artoprotect
             Height Resicion: No single prop, pecofcquipmento combinationtereofmay exceed fen (15)
             esti hight.
             Sages, Risers and Platforms: No stage, iseorpltorm may exceed tw(2) stn high.
             Music In accordance wit he Trac Reguston for he United Stes Capital Grounds, Section [2.1.30
             “Ceremonial Events& Enertainment” musicals ae nol considered demansications and require Capitol Police(6)
             Board Approval.
             Thevolume ofthesound wil           be kept10aminimum and dircted away fiom Congressional Office Buildings:
         4 Tripods and lighting equipment are authorized on grassy areas only and must not impede pedestrian or
             vehicular  aff. Photos /fim aken must not be usd for any commercial purposes.
             Tents, cabanas,   canopies or amy othr covered strctres re expressly profiled.
         # Salicaton,commerciaizaton,
             Delivery vehicles) must report 0aodJoradvertisementofsy
                                                       USCP OFE-Sie Delivery, 700Lindareexpres       prohibited,
                                                                                    Shepherd Parkway,    Woforlalisl
           screening(Monday throughFriday during operationalhours 0430-1300 hours). Then ~
        “Delivery vehicle(s) must report to NewJersey and C Street, NW for secondary sereening (Arrival
          fe 1300 hoursandon he holidays and weekends delivery vehicles)willrespond o is ocaon or
          initial screening only).
          Delivery vehicles) must walosd and relosd equipment slon west curbofFirst Sect, NE
         (nicked cut out are) between Constitution Avenueand EasttheCapitol Street, NE.
        + Upon unloading, delivery veblees) must depart Capito) Grounds and ot retorn   uni conclusion
          ofthe event.
        “ DELIVERY VEHICLE(S) MUST NOT BE LEFT UNATTENDED AT ANY TIME.
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 es
HEN                           UNITED STATES CAPITOL POLICE BOARD                                         ou
BIRR”               WASHINGTON, D.C. 20510                 Phone: 202-224-9806.                          ate)
 Wn              PERMIT RELATING TO DEMONSTRATION ACTIVITIES ON
  Re                     "UNITED STATES CAPITOL GROUNDS
                                   SES: 20-1221
        # EQUIPMENT MUSTBE HAND-CARRIED    ORHAND-CARTED TO THE EVENT SITE.
          BARRICADE  ACCESSISNOTPERMITTED.
          FIRST RESPONDERS PERSONNELWILL INSPECT ALL PROPS AND EQUIPMENT, AND
          MONITOR THE EVENT.
(6) The authorized person or organization nomed in clause (1) of the Permit is enied 10 wiz the area of the
    United States Capitol Grounds described n clause (2) and any props or equipment described in clause (5) of tis
    Permit, in carying out, during, he date and time set forh in claus (3) of this Perit, thie right to engage in
    peaceable and orderly demonsiraion activiies (as defined in Chaper 12, Section 12.110 of the Traffic
    Regulations for he United Stokes Capitol Grounds).
7) tn order to assure the safety and convenienceofal the people inthe excise ofthei ight to visit the Nation's
    Capitol, to call al te officesofRepresentatives and Senators, 10 observe public proceadings ofCongress, 0
    peton the Congress for redvess ofgrievances, engage in peoccable and orderly conduetofany hearing before,
    any deliberation of, any commilice osubcommiticeofthe congress orciter House thereof.o unreasonably or
    intrfee with th mainenance ofgood order on the Capitol Grounds he Capitol Police Board hereby includes
    parof his Permit he folowing conditions and time limitations which the Capitol Police Bord has determinedas
    necessary inorder 10 minimize th obsircton or impediment ofvehicular and othrtraffic (includingpedestrian
    eal) toughowithin the Capitol Grounds and 10 assure the safety thereof
        @ Inthe event     anoffal function ischeduled tht coud conflict with tis dermonstaion the
            demonstrators will lea the respective area prior 1 sid function. and retum afer sid function has
            deparid the Capito Grounds.
        (©) Any displayofsigns. banners, placards, an read ems s srcly prohibited inside afl Capitol
            Buildings. Literature may not be distributed in he hallwaysofany buildin on Capitol Grounds.
        (© is forbidden 1 offer or expose any aricle for sale in said United States Capitol Grounds; todisplay any
            sign placard, or othe formofadverisemen therein; solct fre, lms, subscriptions, or contributions
            therein.
        (@) Thesexingup. placemen, orstorageofcomping equipment, tenis. siecping bags, bell, bedding         ofany
            Kindorsheeofany hind. a ny time, is proibied. Ans sesping o lying-down on he paved of
            improved portions ofthe Buikings and Grounds (suchassires, roads, sidewalks, walkorys, steps.
            curbs. gers, doorways. alcoves. wall)al any time i prohibited. Any sieping     o lying-downonany
            unpaved. orunimproved (grassy) orion fthe Grounds fromone-hal hourafer sunset 0one.           alhour
            befor suis, is prohibited
       (©) Immedisiely upon the conclusionofthe demonstration activity carried ou pursuant10 tis peril,      al
           props, equipment and uciliespermited under Chapter 12 Section 12.5.10 ofthe Traffic Regulations
           ‘Capitol Grounds, whichhovebeen used inconnceton ih such acts iy shall be removed by he for
           applicant from Capitol Grounds. Further. the applicant shll ake such action a may be necessary 50.35
           1 leave the Capitol Grounds ina reasonably good and cleana condition as thal which existed
           immediately prior the commencement       ofsuch activi.
       (0)As acondition precedent 0th issuanceof this Pei. all paicipants in the proposed demonsiration
           (parade. convocation, ec.) shal gree not to cay onhisher person any firearm. explosive, club, missile.
           chemical  or othr incendiary device or any other weapon, candles, arches, lanterns, lamps, etc,
           ignited: oro caus (become ignited any ignilable mateils fr he purpose ofproducinga flame.while
           Further, all paricponts shall age not tocarry any support for Signs, banners, placards, ic.
           more than hree-quarers ofan inch square tis arg! poi. All supports must have ull cadswhich           is
                                                                                                          and cannot
    Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 23 of 91

=                        UNITED STATES CAPITOL POLICE BOARD                               kv)
BEM@A"         WASHINGTON, D.C. 20510              Phone: 202-224-9806.
og?                PERMIT RELATING TO DEMONSTRATION ACTIVITIES ON
 QE                         UNITED STATES CAPITOL GROUNDS
                                     SES: 20-1221
           any way be consiroed a5 weapon. Ther shal be no nal. screw, orboltypefasicningdevices
        protruding from any suppor.



 12/31/2020                                     > 7            :
 (Date Approved)                                 Member,
                                                 UnitedSes Capitol Pllc Board


  uch                                              Chama
                                                   UndSass Capitol Police Board
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                                    UNITED STATES CAPITOL POLICE
   ramen                             SPECIAL ATTENTION MEMORANDUM
   Time Forwarded:                                                          SESNumber: 20-221
   Date Forwarded:                                                          SES Coordinator: MESES
   Date Scheduled:                  ‘Wednesday, January 6, 2021
  Time:                             0830 1700 hours (includesstp takedown)
  Duration:                         8% hours
  Number   ofParticipants: 50
Locations):                         ‘Senate East Front, Grassy Are (bounded by the North Mezzanine sidewalk; First
                                    Suet, NE: Norheast Drive and  th Fast Front Plaza)
  NOTE:                             The spokesperson has been advised that the Congressional Pressareain the
                                    Senate East Front Grassy Area i nota peemilied area. The demonstration is
                                    permiticd no loser than thirty (30) eet rom the CongressionalPressArea.
  Name(s):                          Bryan Lewis
 “Type of Event:                    Demonstration
 Spokesperson:                      Bryan Lewis
  Telephone Number(s):              (C) (843)Su_—_.
  Spokesperson's Address: OnFile in Special Evens
  Note:                             In accordance with Standard Operating Procedure AC-000-63, the Section
                                    ‘Commanders for the First Responders Unit, Sections Two and Three will be
                                    respansible for completing a Follow-Up Repoet CP~44, withinthreeworking days
                                    of this event.
  Remarks:
          On Wednesday, January 6, 2021, between 0830 and 1700 hours, approximatelyfifty (50) persons representing.
  Bryan Lewis will paricipaein a demonstration      on the Sena East Front, Grassy Area 9. The spokesperson advises
  participantsare gathering © “urge Congresstomullvotes fromsates that made illegal changes fo voting rules
  during ther elections *The actual eventtime wilbe 0830- 1700hours.
          MembersofCongressandPresslive not been invild.Civil Disobedienceis NOTplanned             fortis even,
‘andparticipants wilNOT engage in marchactivity in association withthisevent, Spokespersonha advised hat
propersocaldistancing il be maintained          forthedurationofthe event
          “The following props equipmentareauthorized:
               + Various Handheld signs placards
               + One (1) bullhom
                  No marshals willbe lized for this event
               + Electrical power has no been requested, nor i it unavailable at this ste
          The spokesperson has been advised    ofthe following:
                  “lems cannot be tid [nailed, stapledor affixed]toany tesfixturs. Non-breathable materi] Gi..,
                  plastic lywood, etc. is prohibited rom directly covering  uforothr livin landscapeassets. Post
    To mie te      TSCORSFONDENCE
                       rden NLTHETREATEDASLAWEIGRCEMENT
                                          Gn Pl4)FAP BE                EXIT 1npA TOROCALSEONLY. lores
                                                                                                                on.
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ranLoisWednesdon,Jovy6.2021 ont)
         andtakesmostbenomorethan 4 in diameter, insertedno dpe than9 notheground,and
          appeoved by US. Capitol Plc Special Events with final review by the Architect ofthe Caplio."
         Perthe
          Archilect          oftheCapitol, only natural burl sandbags aeallowedfouse onthe rf0 protect
          he grounds fomanydamage.Nosynheic or lasic woven sandbags se allowed...
          Height Restriction: Nosinge prop, iccofequipment  orcombination thereof mayexceed flen (15) ee.
          inheight,
          Stages,Risesand Ploforms: No sage,riseror platform may exceed two (2) fet in height.
          Music - Insccordance with the TraTc Regultons for the United Staes Capitol Grounds, Secon
          12.130 ¢)“Ceremonial Events & Entertainment” musicalsar no considered demonstrations and
          require Capitol Plice Board Approval.”
              The volume of the sound must be kept to a minimum and directed away from Congressional Office
              Buildings
           + Tripods and lighting equipmentsreauthorized on grassy sreolyand must no impede pedestrian or
              vehicular trafic. Photos film taken must notbe used or any commercial purposes.
              Tens, cabanas, canapie or anyorhercovered siructuresareexpresly probibied.
           +Solcitaton.commercilzaton,
           + Delivery vehicle(s) must repor andlorsdertisementofsn         kind Parkway,
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                                              to USCP OIT-Sit, 4700 Shepherd              SW,prohibited.
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              scrcenlag (Monday   th Frid during operational   hours0430-1300 is). Then
           % Delivery vehicle(s) must report to New Jersey and C Street, NW forsecondaryscreening (Arrival
             afc 1300 hours andontheholidays and weekends, delivery vehicles)wilrespond ths focationfor
            inalscreening onl).
           & Delivery vehicle(s must unload and reload equipment along the west curbofFist Street, NE.
             (che cut out ares) between Constitution Avenue, NE and East Capitol Street
           “Uponunloading, delivery vehicle(s) must depart Capitol Grounds and not return until
             conclusion of the event,
           “ DELIVERY VEHICLE(S) MUST NOT BE LEFT UNATTENDED AT ANY TIME.
           + EQUIPMENT MUST BE HAND-CARRIED OR HAND-CARTED TO THE EVENT SITE.
           + BARRICADE
             FIRST RESPONDERSACCESSISNOT PERMITTED.
                                       PERSONNEL WILL INSPECT ALL PROPS AND EQUIPMENT, AND
             MONITOR THE EVENT.
      Paricipants will ive nd departvi public and private anspor. Thespokesperson has ben advised
thot parking
           snotauthorized on Copitol Grounds.
      The Capitol Police Board has sued permitfor tis event.


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        Reques
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                       tnon 6 Jan2020

        Thanks
        Bryan Lewis
            Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 30 of 91


    Coordination Questionsfor (BranLewis & 5 52.21 Usuary 6, 2021 Area Area was requested bot not
                                                      ‘available)]
                                     Phone conversation: 12/21/2020 @1330hours.
 Doyou have anyotherevents planned inthe city?Ifso,
  please provide the locationtimeand estimated number
  ch pariggans.
  Have you spoken ih WFD, NFS ardor SPP 535
  tre mame ed on te application submited 0 th he
  ‘sameas what was submitted to USCP? (only if applicable
  to event)
  How doesyour gro pla on arin 10USCapitol         Publ] Pe Tramporiaion
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  engaging in Civil Disobedience?                {                                                 {
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  event? oesyourgroup have socl media acount or | Saal Medi nd wordof mouth foriniing participant:
  his svent?
  ‘Areyou anticipating the use of additional props and

 Sopicaion? fa please provide det formation.
  ‘equipment other than what was listed on your


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           Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 31 of 91


     Coordination Questions for [Byran Lewis & SES 12-21] (lanuary6, 2021] [Area 9 Area 1 was requested but s not
                                                         available)]
                                       Phone conversation: 12/21/2020 @ 1330 hours
Called 5P and achised themof the following
     + Arealnotavaiabie
              © Selected Area 925 an atemate location
     «CPBOrder restricting massgatherings to 50 persans       or less
              © SPadvised that    he put 1,000 as a hopeful numberbut does not belive hewilcome even close to that
                 number. tatedifhe was to reapply for SO participants he must adhere to this.
‘Advised that he wil need to resubmithisapplication,using the mastrecentversionof the application to reflect the area
‘and participant # changes.
Provided email address
Stated that other than the signs (which willbe message based) they may have a bull horn.
He stated that there will be NO MARCH associated with the event.
‘SP was also quite surprised to find out that so many locations were already reservedforother applications, leading me.
to believe thattheyare not affiated with the larger group.
           Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 32 of 91

            FOR OFFICIAL USE ONLY/LAW ENFORCEMENT SENSITIVE

                                                                                          Roksan
                                                                                            eS
       SE                                              .                                                  1
     4¥|)                  Demonstration Permit
       ED                              Assessment
    SE                                                           a
 TITLE: Bryan Lewis Demonstration
 THREAT ADVISORY: REMOTE
 There are no records of Bryan Lewis holding prior events on Capitol Grounds and the
 Intelligence and Interagency Coordination Division (ICD) found no adverse information;
 therefore, ICD assesses the Level of Probability of acts of civil disobediencefarrests to occur
 during the upcoming Bryan Lewls demonstration as REMOTE.

BackgroundInformation: Bryan Lewis, describes himself as a private citizen who is “fighting for fair
 election results”.

EventSummary: On Wednesday, January 06, 2021, between 0830-1700 hours, approximately fifty
 (50) persons representing Bryan Lewis will participale in a demonstration on theSenateEast Front,
 Grassy Area 9,of the U.S. Capitol
 Mr. Lewis, who is also the spokesperson for the event, advised that the participants are gathering “to
 urge Congress lo nullify votes from stales that made illegal changes to voting rules during their
 elections.” According lo Mr. Lewis the event will consist of brief speeches and displaying signs, the
 ‘actual event willtake place from 0830-1700 hours.Hehasalsoadvised Membersof Congress were not
 Invited to this event and no actsofcivil disobedience are planned. Mr. Lewis is not aware of any
 ‘counter-demonstrations related to this event and the group has no intention of entering Congressional
 office buildings to lobby Members of Congress.

ICDComment: At present there is no adverse intelligence related to this even. A social media
 presence could not be located for Mr. Lewis. Bryan Lewis, (843) lM. has stated thathedid not
 needtoadvertisefortheevent because hebelievesthere will be larger groups in Washington D.C. on
 the same day, demonstrating for the same cause. Based on these findings, the Intelligence and

   WASNING:  TH DOCUMENTI FOR OFFICIALUSE ONLY. CONTAINS INFORMATION THAT MAY BE LAW
   ENFORCEMENT SOISTIVE1 5 T0BECONTROLLED, HANDLED,STORED,TRANSMITTED, DITRIUTED AND
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 | ANDOTHER SENSITIVE BUT UNCLASSIFIED INFORMATION
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  OTHER PERSONNELWHO DO NOT
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        Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 33 of 91

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 Interagency Coordination Division assessestheLevelof Probabilityofacts
                                                                     ofcivil disobedience/arrests
tooccurduring the upcoming Bryan Lewis demonstration as remote.




  Ewe
Information contained in this document
                                  iscurrentasof 12/29/2020
                                                      @ 0930 hours.




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       Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 34 of 91




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    Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 35 of 91




—                        UNITED STATES CAPITOL POLICE BOARD                                        s63
BIFR°              wasHINGTON, D.C. 20510    Phone; 202-224-9806                                   ane
Woof              PERMIT RELATING TO DEMONSTRATION ACTIVITIES ON
  “>                           UNITED STATES CAPITOL GROUNDS
                                        SES: 20-12-32

(1) SPONSORINGPERSON
         See AND OR ORGANIZATION
(2) AREAOF CAPITOL GROUNDS TOBE INVOLVED.
          West Front, Grassy Area 1 (Lower Center Portion), United States Capitol(Tuesday, January 5, 2021)
           UnionandSaar
          SW;         Third Are15  Goundedby Pesan Avene,NW it Suet, NWSW;Mir nd Aver
                            Sues, SWI)(Wed        Jana6 s    3621)
    DATE! Tuco.
           VeenJanay     omy5.70)308tough TIME: nie.
(3) DATE, TIME. AND DURATION:
                                                       0900-1500 hoursekeddi DURATION: 10 hours
            %
(4) NUMBER OF PARTICIPANTS:



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(5) PROPS AND EQUIPMENT.
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             © One(1) Bose LI Compact System (13.25"L x 16.75"W x78.5"H) placedonstage


      34 Come
           One (1) shoe
                   ips egos hom
             © One(1) wireless microphone


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                              ect only natural burlap sandbags are allowed for use on the turfto protect

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      “Height Restriction: No single prop, pieceofequipmentor combinationthereof may exceed fifteen (15)

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         feet in height.

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      Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 36 of 91




HEE                         UNITED STATES CAPITOL POLICE BOARD                                          160
  APE”                wasHNGTON, DC. 20510      Phone: 202-224-9806                                     je
        th           PERMIT RELATING TO DEMONSTRATION ACTIVITIES ON
   ti                             "UNITED STATES CAPITOL GROUNDS
                                            SES: 20-12-32

        = Delivery vehicle(s) must report to USCP OIFSit Delivery, 4700 Shepherd Parkway, SW, fortial
             ‘screening (Monday throughFridayduring operational hours 0430-1300 hours). Then —
             Delivery vehicle(s) must report to New Jersey and CStreet, NW forsecondaryscreening (Arrival
             afer 1300hoursandon theholidaysandweekends, delivery vehicle(s) wil respond
                                                                                      to thislocationfor
           nilscreening only)
        © Deliveryvehicle(s) wil unload and reload on thewest curb of First Srcet and Peansylvania
           Avenue, NW, north ofPeace Circe.(Tuesday,January5,2021)
        + Delivery vehlele(s) will unload and reload on the west curbofFirst Street and Peansylvania
           Avenue, NW, south of Peace Circle.(Wednesday, January6,2021)
           Upon unloading, delivery vehicle(s) must depar Capitol Grounds and not return until conclusion
           ofthe eveat,
         DELIVERYVEHICLE(S)MUSTNOTBELEFTUNATTENDEDATANYTIME.
        + EQUIPMENT MUST BE HAND-CARRIED OR HAND-CARTED TO THE EVENTSITE.
           BARRIC       ACCESSISNOTPERMITTED.
        “ FIRST RESPONDER
                                           ADE
                                    PERSONNEL WILL INSPECT ALL PROPS AND EQUIPMENT, AND
             MONITORTHEEVENT.(Tuesday,
                                January 5, 2021)
        + SPECIAL OPERATIONS DIVISION WILL INSPECT ALL PROPS AND EQUIPMENT, AND
          ‘WILL MONITOR THE EVENT.(Wednesday,
                                          Janiary52021)
  NOTE: PARKINGISNOT
        AUTHORIZED   ONCAPITOLGROUNDS.
(6) The authorized person or organization named in clause (1) of the Perit i eile to utilize the areaofthe United
    Stats Capitol Grounds described in clause (2), ad any propso equipment
    canying ou, durin the date and time set for in claus (3) of this Permit,describedinclaus
                                                                              hee  right to
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    orderly demonsicaion activi (u defined in Chaper 12, Section 121.10 ofthe Traffic Regulation:in fo
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                                                                                                        the United
    ‘States
          Capitol Grounds).
(7) order to assureth safety and convenience ofall he people inthe exerciseofther ight 0 visi the Nation's Capol.
   10 calla the officesof Represenatves and Senators, o observe public procedings ofCongres, 0 petition the
   Congresforredress of grievances, engage in peaceable and orderly conduct ofany hearing befor,or any deliberation
   of, any commieosubcommitee ofthe congress or either House thereof, or unreasonably
   minicnance ofgoodorder onthe Capitol Grounds, the Capitol Police Board hereby includesterre      with the
                                                                                           as part ofthis Pei the
   ollowing conditions and time imitations which the Capitol Police Board has detemined necesan in order (0
   mirimize the obstruction o impedimentofvehicular and alher affincluding pedestrian trafic through      or hin
   {he Capitol Grounds and to assure th say thereof.
       (6) 0 the event an ofcal oncion is scheduled tht could conf with this demonsiruton. he demonstrators will
           clear the especiv area prio0 501d function. and retum fe sid funcion has departed the Capitol Grounds.
       (6) Any display ofsgs, boners, placards, and elt item stl prbibited inside al Capitol Buildings
           Literature maynotbedisirbied n the hallways ofanybuildingon Capt] Grounds.
       (©) tis forbidden 0 offer o expose any ale forsle in said Unied Sites Capitol Grounds, to display any ign,
           placard.o other formof adetisement therein, 0 ole Fres, alms, subscriptions, o conrbutons therein.
       (8) Theseting up, placement,ostorageof comping equipment, ents, seeping bag, bedroll, beddingofany ind
           or sheler ofany kind, at anytime, is prohibited. Any Sleeping or lng-dovwn on the pavedo improved
           portionsofthe Bullings and Grounds (uch ssc, oud, sidewalks,           walkways, Sep, curbs,puters.
           doorways, alcove, walls) at any ime sprobibied. Any sleeping or lying-down 0 any unpaved. or
           unimproved (7253) orionof he Grounds fromone.halfhour fe sunset 0onealho befor suis is
           probed
  Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 37 of 91




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                                     SES: 20-12-32

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          Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 38 of 91




                                  UNITED STATES CAPITOL POLICE
                                SPECIAL ATTENTION MEMORANDUM
 cram                                                                                                   09)
 Time Forwarded:                                                         SES Number: 20-12-32
 Date Forwarded:                                                         SES Coordinator: GRAMMES.
  Date Scheduled:            Tuesday, January 5, 2021 through Wednesday, January 6, 2021
 Time:                       0900- 1900hours daily(includesset-up take-down)
  Duration:                   10 hours
  Number of Participants: ~~ 50.
Location(s):                  West Front, Grassy Area I (Lower Center Portion), United States Capitol
                            (Tuesday,January5, 2021)
                             Union Square- Area15 bounded by Pennsylvania Avenue, NW First Sitcet, NW/SWs
                                Maryland Avenue, SW; and Third Street, SWINW)(Wednesday, January6, 2021)
 Name(s)                        Jesus Lives
 Type of Event:                 Demonsteaion
Spokesperson:                   Jo Reitkopp                     AdUL PolatofContact: Chris Steinbrunn
 Telephone Number(s):           (© (714y—                                                  © (12)
 Spokesperson Address:          On file in Special Events
NOTE:                           In accordance with Standard Operating Procedure AC-000-63, the Section
                                ‘Commanders for the Special Operations Division, Sections Two, and Three will be
                                responsible for completing a Follow-Up Report CP-44, within three working days of
                                this event.
 Remarks:
         On Tuesday, January 5. 2021 and Wednesday, January 6, 2021,between0900 and 1900hours daily,
 approximately ffy (50) persons representing Jesus Lives wil participate in a demonstration   in the West Front Grassy
 Area 1 (Lower CaerPorion) (Tuesday. January5, 2021) and Union Square -Arca 15 (Fediesday,
 ‘The spokesperson advises participants re gathering for a‘prayerevent, prayingforaurcouniry withJantaryspeakers
                                                                                                                6. 2021)
                                                                                                                 ani
recorded music,” Ps th spokesperson, the event wl includ the blowing ofashofarone (1 ime at the beginningofthe
 event and participants will engage in congregationalsigning.Actualevent time will be 1200 to 1700 hours.
         MembersofCongress may be invited, bitnone
 invited.Civildisobedience is NOTplainedfor his even.havebeen       invitedatthe timeofwriting. Press will notbe
                                                            The spokesperson hasadvised   thatparticipants wll maintain
 social distancingfor the duration ofthe event.
         “The following props / equipment are ulhorized:
                  One (1) banner (8'L x 8'H) supported by a telescoping banner frame with metal support base:
                       ~ Will be placed on the ground behind the stage
              “One (1) stage (16'L x 8'W x 12H) withsep
             “One (1) podium
             “One     (1) JackerySolar Generator  withsolarpanel
                      ~ Generator pack (9.05"L   x S.14"W x 7.87°H)
                      ~ Solar panel (167 L x 0.6°W x 11.4"H) with built in support leg.
                  Portable sound system — consisting of:
                      ~ One (1) Bose L1 Compact System (13.25"L x 16.15"W x 78.57H) placed on ssge
                      ~ One (1) wireless microphone
             “One (1) shofar - religious hom
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         Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 39 of 91



essLives,Tuesdov,Jonsary5,2021 roughWeshesdey,January6 202 cont'd)
           % Camera tripods
          + Electrical power hasbeen requestedfor Tuesday, January 5,2021,and is available in Area.
          + Elcticl power has not been requested for Wednesday, January , 2021, nor sit available at Area— 15.
       he spokesperson hasbeenadvisedofthe folowing:
          + “lems cannot be ied (ale, siapld or affixed] osnytrees sures. Non-becthable material i, plastic,
             plywood, tc) is prohibited fom directly covering turf or aber ving landscapeasses. and sis must
             be no more thin "i diameter sere nodeep han9 no the ground and approvedPot        by U.S. Capital
             Police Special Events with final seview by the Architect ofthe Capo”
            Perthe
             Architect         oftheCarita,only natural burlapsandbagsare allowedforuseo
             he grounds from any damage. No synthetic ar plastic woven sandbags are allowed. the (arf0 protect
             Tents, cabanas, anopics or any other covered structures are expressly prowbie.
         = Height Restriction: No single pop, piece of equipmentocombinaion thereofmay exceed fiten (15)
             feet in height.
             Stages, Risers and Platforms: Nosage, riseror platform may exceed two (2) et in height.
             Music  -In accordance withtheTraffic Regulations for he United Staes Capitol Grounds, Section 12.130 ¢)
             “Ceremonial Events& Entersioment” musicals ar not considered demansiraions and reste       Capitol Police
             Board Approval,
             The volume ofthe sound will be kept to a minimum and directed sway fom CongressionalOffice
         + Tripods and lighting equipment are authorized on grassy areas only and must not impede pedesrianBuildings.
                                                                                                             or
             vehicular raf. Photos fim hen must not be usedforany commercial purposes.
         + Solicitation, commerclalization, and for advertisement ofany kind are expressly problbiced.
             Delivery vehicle(s) must por to USCP I-Site Delivery, 4700 Shepherd Parkway, SW, lor aii
             screcalag (Monday through Friday during operational hours 0430-1300 hours). Then
             Delivery vehicle(s) must report to New Jersey and C Street, NW forsecondaryscreening (Arrival
             afer 1300 hoursandon he holidaysondweekends, delivery vehicle(s) will respond 1o tis locationfor
             nilscreening ol.
             Delivery vehicles) will unload and reload on the west curb of First Street and Pennsylvania
             Avenue, NW, north of Peace Circle.(Tuesday, January5,2021)
         # Delivery veblele(s) will unload and reload on the west curb ofFirst Street and Pennsylvania
              Avenue, NW, southofPeace Circle.(Wednesday, January 6, 2021)
           “Upon unloading, delivery vehicle(s) must depart Capitol Grounds and uot return until conclusion
                ofthe event.
               DELIVERY VEHICLE(S) MUST NOT BE LEFT UNATTENDED AT ANY TIME.
            + EQUIPMENT MUST BE HAND-CARRIED OR HAND-CARTED TO THE EVENT SITE.
                BARRICADE ACCESS IS NOT PERMITTED.
            + FIRST RESPONDER PERSONNEL WILL INSPECT ALL PROPS AND EQUIPMENT, AND
                MONITOR THE EVENT.(Tuesday,         Janiary5,2021)
            + SPECIAL OPERATIONS DIVISIONWILL INSPECT ALL PROPS AND EQUIPMENT, AND WILL
                MONITOR THE EVENT.(Wednesday,          Janay6,2031)
       The participants will ave via public and privat ransportaion. The spokesperson has been advised that go.
parking or stagingis authorizedon Capitol Grounds
       “The Capitol Police Boardhs sued apermit for his vent.

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       ms                                                       Cial Events Section


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          Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 41 of 91



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       Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 42 of 91



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  2)                             U.S.CAPITOLPOLICEBOARD
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                                        Washington,    D.C. 20510
                        Application for Permit Under Article XIX Of TheTraf
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   PropesdErr— AA oeandender tn iadbyoto
                           otor Vehicle  Regulations for United   States Capitol
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           Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 43 of 91




                 Coordination Questions for “Jesus Lives” & SES #20-12-32] [January
                                                                                  §& 6, 2021] [Area - 15]



   Pe
                                      Phone conversation: 12/30/2020 @ 1150 hours




  EERE
  stands, stages, easels, etc...




 [ Emailaddresses) foralpointsofcontactforyourevent.|Seeapplication                                         |




  provide a mapofthe planned march route
  Please provide the names and contact info of partners


[HosthegroupinvitedMembersofCongress?                     [Waybe                                            |
[Hasthegrovpinvited Press totheevent?                     [No                                               |
           Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 44 of 91




                  Coordination Questions for [Jesus Lives" &SES 420-12-32] lanuary5 & 6, 2021] [Area- 15]
                                         Phone conversation: 12/30/2020 @ 1150 hours
  they plan to have. They will alsohave Jewish participants who will bow one Shofar one time at the beginning ofthe
   program each day.
  She was also not aware that the event time needed to Include theset up and take down time and requested to have two.
  hours added on the front and back end of the eventa the event program will run 1200 pm to 5:00 pm both days.
  She stated that the stage and sound equipment willbe brought by the other     SPChris and to contact him for more
  detalled information. She aso stated tha they will probably have back drop banner. | advised that t will not be able to
  be on the stage but rather on the ground. She stated that she i fine with that but to le Chris know a5 well.
  12/30/2020 @ 1243 hours called other POC for theeventas he will be bringing the equipment
  The sound system Is a Bose L1 Compact System with wireless microphone that will be placed on the stage.
  There will be either one or two banners with the message Kingdom Come on it. (not an advertisement) that will be on
  the ground by the stage not on.
  He confirmed that the only music will be recorded music for the purpose ofinterlude or for congregational singing as
  part ofthe prayer program and between speakers.
  Made him aware of the security screening process and he stated that he will have hispov and will comply. Advised him
  that there is no public parking on U.S. Capitol Grounds and Parking is not authorized as a component of the application.
  12/30/2020 @1645 hours
  SP called to Inquire if Area
                             1was avalla     sotheycouldhave
                                                       ble access to electrical,| advised that area 1i only available
  on Tuesday and not on Wednesday (restrictions begin this day). She asked to switch to Area 1 on Tuesday (Jan 5) and
  remain in Area15 on Wednesday (Jan 6°). advised that| will need her to email me with that request as we need the
  change in writing.
  She mentioned that in the Interestoftime they will most likely secure a vendorfor the stageof the event. | advised that
 if thats thecaseshe will need to advise In emall any changes o the siz. She tated that the vendor was requiring a 6
  our window fordelivery which would change the start timeof the event.
  1stressed again that al changes must be emailed to be to have a written record of them.
  12/30/200
  SP emailed later In the evening with the change for the area only and confirmed that they had reviewed and understand
  the information provided. No mentionof the change to stage was provided.
  131200
  Replied to P in emailstatingthat received the information provided in the email andif there were any changes to the
  stage that she needs to let me know ASAP.

 12/31/20201 1110 hours
 Called SP to inquire after the stage change. She stated that they will fact have two panels that measure x 4' x 12" to
beonestageof 16'Lx8'W x 12° Hwithonestepontheside
 While on the phone SP emailed a photoofthe stage.                                                                     :
         Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 45 of 91




             ‘Coordination Questions for [“lesus Lives" & SES #20-12-32] [January 5 &, 2021) (Area- 15]
                                   Phone conversation: 12/30/2020 @ 1150 hours
12/31/2020 1328 hours - SPand Additional POC called to request to have start time changed to 0300 hours to
accommodatetheirvendor's need for more time for set up.
5P followedupwith email to confirm this.
        Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 46 of 91



           FOR OFFICIAL USE ONLY//LAW ENFORCEMENT SENSITIVE//
             SENSITIVE PERSONALLY IDENTIFIABLE INFORMATION

                                                                                         es
       rr
     dye)                   Demonstration Permit
        =                             Assessment
    ems
 TITLE: Jesus Lives Demonstration
 THREAT ADVISORY: REMOTE
 Open source reviews were negative for any planned counter protest activity against the
 upcoming event. At this time there is no adverse intelligence related to the upcoming event.

 Background Information: Jesus Lives describes itselfasa religious organization seeking to conduct a
 prayer service the country.

[EventSummary: On Tuesday, January 5, 2021, between 0900 and 1900 hours, approximately fifty
 (50) persons representing Jesus Lives will participate in a demonstration in the West FrontGrassyArea
 1 (Lower Center Portion). On Wednesday, January 6, 2021, between 0900 and 1900 hours,
approximately fifty (50) persons representing Jesus Lives will participate in a demonstration at Union
‘Square — Area 15. The purpose of the event is for participants fo conduct a “prayer event, praying four
‘our country with speakers and recorded music.” Per the spokesperson, the event will include the
blowingof a shofar one (1) time at the beginning of the event and participants will engage in
‘congregational signing. Actual event time will be 1200 to 1700 hours.

 The spokesperson, Ms. Jo Reitkopp, advised Members of Congressmay be invited, as of this     wiling,
 no invitations have been sent lo Members of Congress. Press will not be invited. Civil disobedience is
 notplannedfor this event. The spokesperso  hasn advised thal participants will maintain social
 distancing for the duration of the event.

 Ms. Reitkopp advised that neither she, nor membersof the demonstration, have any intention of
 ‘entering Congressional office buildings to lobby MembersofCongress.



 WARNING:THIS DOCUMENT IS FOR OFFICIALUSE ONLY. ITCONTAINSINFORMATITHAT
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 | ENFORCEMENT SENSITIVE. 7IS TO BE CONTROLLED, HANDLED,STORED, TRANSMITTED, DISTRIBUTED AND |
 | DISPOSEDOFIN ACCORDANCEWITHUSCP DIRECTIVE 2011.002
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        Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 47 of 91



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               SLY EE RAT                    TWA oT)
1ICDComment:Women for a Great America filed for apermittedevent on January 6, 2021 at the
 House East Front, Grassy Area 10, U.S. Capitol. Additional events are also scheduled to occur in
 Washington, DC on January 6, 2021.

 ‘There are no records on file of Jesus Lives conducting prior events on Capitol grounds. Open source
 reviews indicale there are no plans for participants to engage in actsofcivil disobedience. Mr. Chris
 ‘Steinbrunn, (412), is the point         of contact for the upcoming event. Based on these findings,
 the Intelligence and Interagency Coordination Division assesses the Levelof Probability  of acls of civil
 disobediencelarrests tooccur during the upcoming Jesus Lives event as remote.
 Information contained in this document
                                     is current asof 12/31/2020 @2300 hours.


  DaiRecoeaich 123730                                       )



                                      USCPRiskAssessment Factors
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                    Neary Certain                      sseo%
 ‘Sources:




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          Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 48 of 91
   i                                                                                           cron
         N                    UNITED STATES CAPITOL POLICE                                     tons)
                         DEMONSTRATION ENDORSEMENT SHEET
sesnuMper           201230
                             _                                                 leas TypeorprintLeg
Recommendation ofC0.SpecialEvents                          Approval@_ Disapproval @ Comment @
 01.08.2021;                                                       Faciliate with Exising Manpower 0
NoMOG.media,orCO.                                                + Dighallysigned
 1)Ara VilaFrosdanKeopors 0500-1300:
 2)Area8. On NatonUnderGod (0830-1800;50p80p)1 Grossi, 3 ross Seon
 5 Area 8Bryan Lows (1830-1700:    pl)               Scott J. ose 201220
 4) Area 10 - Womenfo a Grea Ameria (0700-2200;50pi)                  25007 086% Isuvintey
                                                      Signature                           Date
 Recommendation   ofC.0.ProtectiveServices Bureau          Approval@ Disapproval 0 Comment ©


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                                                  Signature                          Dale
Recommendationof Assistant ChiefofPolice
 embossed                                                     ro] spp []commen
                                                          Approval[7] Disspproval[| Comment



                                                  Pittman,       fo
                                                    Yogananda D.85FE
                                                  Signature                          Date
Recommendation ofAssistantChiefofPolice                 Approval[y/] Disapproval [_] Comment [/]
Uniformed Operations

 Approved for ACOP Thomas                          Pickett,       pier
                                                    Joffrey J.    ETL
                                                  Signature                        Date
                   of Police
 RecommendationofChief                                  Approval[7] Disapproval [7] Comment]


                                                    Sund, Steven zz ins
                                                    A             Si
                                                  Signatre                           Date
       Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 49 of 91


4     3                   UNITED STATES CAPITOL POLICE BOARD                                      8
 SPEER              WASHINGTON,DC. 20510      Phone: 202-224-9806
Woof                 PERMITRELATING TO DEMONSTRATION ACTIVITIES ON
     FC                            UNITED STATES CAPITOL GROUNDS
                                                 SESH20-1230
1) SPONSORING PERSON ANDIOR ORGANIZATION:
            Rock Ministries International
(2) AREA OF CAPITOL GROUNDS TO BE INVOLVED:
            House East Front, Grassy Area 11 (bounded by SE Drive; First S1, SE: Independence Avenue, SE and
            East Front Plaza)
0) DATE, TIME, AND DURATION:
    "DATE: Wednesday, January6.2021 TIME: 1200- 1900 hours                          DURATION:7 hours
                                                    includes setup takedown)
(4) NUMBER OF PARTICIPANTS:
            0
(5) PROPS AND EQUIPMENT:
            Fifty (50) handheld sign /placards
         4 One) podium.
         © Four (4) ables
         © Fly (50) chairs
         + Portable sound system consisting  of-
              = One(1battery-powered      lon Explorerspeaker(2 x2'W)
              « One (1) microphone
         4 Disrbution   of erature 0 inersted persons only
            Electrical power has nol bee requesied, nor i available  a this site
  “The spokesperson has been advisedofth folowing:
         “lems cannot be ted failed, supled or aflxed] 0 any ees furs. Non-brethable materi ic, plastic,
            plywood, ec) i robibited from directly covering turfo ther living landscape set.Postandstakes must
            bc no more than 2” in diameter, insered nodecperthan” to he ground, and approved byUS.Capitol
          Police Special Evens with fn reviewbythe ArchieoftheCapitol”
           Perthe
            Architect         oftheCapitol,onlynatural buriapsandbags     aro’            useanthe arf loprotect
                                                           iSR
         + Height Restriction: Nosingle prop, piceofeguipment or combination hereofmay exceed fifeen (15)
            feetin height.
         + Stages, Risers and Platforms: No sage, riser or platform may exceed two   2) fet in hight.
            Music - Inaccordancewih th Traffic Regulationfote United Stats Capitol Grounds, Section 12.1.30 (¢)
            “Ceremonial Events & Enirainment” musicals re ot considered demonstrations and require Capitol Police
            Board Approval.
         +The volumeofthe sound will be kept 10a minimum and directed away from Congressional Office Buildings.
            Tripods andlightingequipment re authorized on grassy areas only and must not impede pedestrian or
            vehicula traffic. Photos film taken must not be usdforany commercial purpeses.
            Tents, cabanas, canopiesorany other covered structures re expressly prohibited.
          Solicitation,commerclaizatin,and
            Delivery vehicle(s) must report to USCPoradvertisementofany     Lindareexpresslyprobibited.
                                                       OFT-Site Delivery,4700  Shepherd Parkway, SW, forinitial
          serecalng (MoraythroughFridayduringoperationalhours0430-1300hours).Then —
         = Delivery vehicle(s) must report {o New Jersey and C Street, NWforsecondarysreenin (rival
            afer 1900 hoursandon he holidaysandweskends, delivery vehicles) will espord       1 hislocationfor
            nil screening oly.
            Delivery vehicles) must unload and reload equipment alongthe west curbofFirst Street, SE
            (aiched /cut out area) betwee Independence Avenue, SE and East Capitol Street.                    .
            Upon unloading, delivery vehicle(s) must depart Capitol Grounds and not return until conclusion
          of the event.
          Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 50 of 91

FE:                              UNITEDSTATES CAPITOL POLICEBOARD                                           ase
BPE”                    WasHINGTON, D.C. 20510                 Phone: 202-224-9806                           Li
B=                      PERMIT RELATING TO DEMONSTRATION ACTIVITIES ON
   “aH                               "UNITED STATES CAPITOL GROUNDS
                                                   SESH20-1230
   ©       4DELIVERYVEHICLE(S) MUSTNOT BELEFTUNATTENDEDATANYTIME.
          +“ EQUIPMENTMUSTBEHAND-CARRIEDORHAND-CARTEDTOTHEEVENTSITE.
              ‘BARR
                 ACCESS ICADE
                        IS NOTPERMITTED.
          “ FIRST RESPONDERS PERSONNEL WILLINSPECTALL PROPSAND EQUIPMENT, AND
            "MONITORTHE EVENT.

       NOTE: PARKINGISNOT AUTHORIZED ON CAPITOLGROUNDS.
(6) The authorized person or organization named in clause (1) of the Permit is entitled to utilize the areaofthe
    United States Capitol Grounds described in clause (2). and any props or equipment described in clause (5)ofthis
       Permit, in carrying oul, during the cate and time set forth in clause (3) of this Permit, ther right (0 engage in
       peaceable and orderly demonstration activities (as defined in Chapter 12. Section 12.1.10 of the Traffic
  Regulators for   he Und States Capil Grounds).
1 nord to assure he sfey and convenience ofthe peope in he exerciseoftei ight 0 vis he Nato’
  Capitol.tocal ate offices ofRepresentatives and Sensors, 0 abseve publi prosecings ofCongress, fo
  pethiontheCongres or edssofgrievances, engage      in pescesle and dey conductoany heanng before, or
  Sny deliberation of, any commie o subsomiticofthe congresso thrHowsethersa.ounreasonably
  inefer withth maintenance ofgod order onthe Capitol Grounds. he Capitol Police Board hereby includes as
  panofthis Permit thefollowingconditions and time limitations which the Capitol Police Boardhasdetermined
  necessary in oder o minima he cbstruciono impedim         ofvehiculaentandothr raf (including pedestian
  rai) trough or thin the Capitol Grounds ad o assure the safely therof:
          (6) Inthe event an oficial function scheduled ht coud conflict with thisdemonsiton, the
              demonstrators wil larhe respeciiv rea prio 10 sid ncton, and rem afier sid function has
              departed beCapitol Grounds.
          (6) Any display fsins, banners, placards, and elated es s stil prbititd inside il Capitol
              Building. Lieatrs may nolbeiru inthe hallwaysofany buildingon Copiol Grounds,
          © 1s forbidden to ffror eps any ail for sl sid United Sts Capitol Grounds fo islay any
              sign, placard or oerform ofadvertisement herein 0 slic rcs, alms, Suenos, or conibution.
              herein,
          @) The stingup. placement, or storage ofcamping equipment, es, sping bags, becroll, beddingofany
              ind orsheerofan kid. at any time, probiie. Ary Siping or yng:Gown on he paved         oF
              improved portions a he Buildings and Grounds (uch ss sess, road, sidewalks, walks. seps,
              curb, gers. doorways, loves, walla      ary time ipraubitcd. Any icing    o yingdown on any
              unpaved, or urimproved (ras) portionofthe Ground rom one-hou          aftersuse
                                                                                           r 10anehlhour
              before sunrise, is prohibited
          (€) Immediately upon the conclusion of the demonsiraton stv camied ou pursuant fo tis peri. all
              prop, equipment snd files permite ner Chapter 12 Section 12.5.1ofthe Trae Regan for
              Capitol Grounds. wich have been usd in connection wih such ory shall be remoued by the
              applicant from Capito Grounds. Futer he applicant shll ake such scion as ms be
              10 leave the Capitol Grounds in a5 reasonably good and clean a condion a¢ that necessary 0.35
                                                                                              which exited
              immediacypriortothecommencement of such activity.               #
          (0)As condion precedent to the issuanceofthis Permit all paricipans nthe proposed
              demonstration (parade. convocation. cc.) hal age ot 0 cary on is herperson any fam, explosive,
              club, missle chemicaloother incendiary device or any ober weapon; candies, orcs, lanes. Gs.
     Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 51 of 91

SE:
FE:                       UNITED STATES CAPITOL POLICE BOARD         se
OPPRE®          WASHINGTON, D.C. 20510       Phone: 202-224-9806.    aie
Det                 PERMIT RELATING TO DEMONSTRATION ACTIVITIES ON
 NH
                                     apd
                            UNITED STATES CAPITOL GROUNDS


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  (Date Approved)                              Cima,                     5
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            Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 52 of 91


                                  UNITED STATES CAPITOL POLICE
                               SPECIAL ATTENTION MEMORANDUM
cram                                                                                                   won
 Time Forwarded;                                                       SES Number: 201230
 Date Forwarded:                                                       SES Coordinator: QUENSESER
  Date Scheduled:               Wednesday, January 6, 2021
 Time:                          1200- 1900 hours (includes set-up /take-down)
Duration:                       hours
  Number of Participants:       50
Location(s:                     House East Front, Grassy Area 11 (bounded by SE Drive; Fist St, SE: Independence
                                Avenue, SE and East Front Plaza)
 Name(s):                       Rock Ministries Ineraational
 Typeof Event:                  Demonsiation
Spokesperson:                   Bellon Plan                            OnSite Contact; Mashandia Plat
 ‘Telephone Number(s):          (©)(950) —                                               ©) (704) ="
 ‘Spokespersons Address:        On File in Special Evens
 NOTE:                          In accordance with Standard Operating Procedure AC-000-63, he Section
                                Commanders fo the First Responders Unit, Section Two and Thece wil be
                                responsible for completing a Follow-Up Report CP-44, within three working days of
                                this event.
 Remarks:
        On Wednesday, January 6.2021, beeen 1200 end 1900 hours, prove i (50) persons epesening
 Rock insistent wil ucipi in a demonraion one owe Eat ron, Gras Ars 11,03, Cal
     Spokesperson adviss pariicipants ar gathering for a “prayer           encouraging pastors, leadersandcitizens 10
 prayJo
 Seni.
         theUnitedSes         The event willconsi  fpays     anriespecs.No          dv  loosdence      pannefo      is
        “The folowing props equipment re suthorzsd:
               Fifty(50)handheld signs placards
             + One (1) podium
             < Four  (4)tables
             4 Fifty (50) chair
             + Ponable sound system consisting of
                   One(1)batery-powered fon Explorer speaker (2'L x 2'W)
                  «One (1) microphone
             + Distibutionoflcrature     0inersied persons only
             + Electricalpowerhasnotbeen requested, nor    is tavailabe a this site
       “Thespokesperson has been advised ofthe following:
               lemscam b tid nailed, stapledo affixed] (0 sny trees fixtures. Nonbreathable mer (ic. plac,
                plywood, etc) i prohibited from diecly covering turf
                                                                   or alr ving landscape assets. Post and stakes must
                eo mre han "in diameter, inserted no decpr than 9 noth ground, and spproved by U.S. Capitol
             RL                                                                   —
                Police SpecialEventswith inal review by the Architet ofte Capitol”
             Height Restriction: Nosinglepro.plece ofequipment
                                                         orcombination hereofmay exceedfifeen(15) ect
          in heigh.
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            Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 53 of 91

BockMinistriesInternational,Wednesday,January6, 2021(cond)
              Stages, Risersand Platforms:
                                         Notag,rise oplatformmayexceedtwo (2)fetin high.
          + Music In accordance with th Trae Regulationsfor te United SatsCapitol Grounds, Section 12.130 (e)
              “Ceremonial Evens & Entrainment” musicals ar not considered demonstrations and equi Capitol Police
              Board Approval.
          5 The volumeofthe sound will be kept 0 2 minimum and directed aveay from Congressional Office Buildings.
              Tripods andlightingequipmentar authorized on grassy res only and must no impede pdestan o
             vehiculatai. Photo. fim taken must not be used fo ay commercsl purposes.
              Tent, cabanes, canopiesorany ther covered structures are expressly probibied
          + Solicitation,   commercalization,20dJoradvertisementofsykind
              Delivery vehiel(s)                                                  reexpresslyprohibited,
                                  must repor (o USCP OfFSit Delivery, 4700 Shepherd      Parkway, SW, forintial
                screening(Monday through Friday duringoperationalhours 04301300 hours). Then —
                  Delivery vehicle(s) must report to New Jersey and C Street, NW forsecondaryscresaing (Arrival
                  afer 1900 hoursandon theholeys ad weekends delivery hice) wilrespondfo his locationfor
                  nilscreening ol),
              + Delivery vehicle(s mst unload and reload equipment slong he west curb of First tres, SE
                  (niched cut out area) between Independence Avenue and East Capitol Street, SE.
                  Upon unloading, delivery vehicle(s) must depart Capitol Grounds and not retire uatl conclusion of
                  theevent.
              4 DELIVERY VEHICLE(S) MUST NOT BE LEFT UNATTENDED AT ANY TIME.
                  EQUIPMENT MUST BE HAND-CARRIED OR HAND-CARTED TO THE EVENT SITE.
                  BARRICADE ACCESS IS NOT PERMITTED.
              « FIRST RESPONDERS PERSONNEL WILL INSPECT ALL PROPS AND EQUIPMENT, AND
                  MONITOR THE EVENT.
         “The participants will rive and depart vi publican privat transportation. The spokesperson hs been advised
 hat no parkingorstaging is authorised on Capitol Grounds.
         “The Capitol Police Board has sued permit fr this even,


                                                                    Ln    Coordinator
          73540                                                     Special
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       Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 54 of 91




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                Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 56 of 91



                    Coordination CusstionsfoDEM: RockMinsris nl. Wednesda, lnuay 6, 2021
      Goyou ave any iver vents
      hess provi he loan inpanned          he CPT,
                                   an estimated umber
     ofparticipants.
      Have you spoken with MPD, NPS, and/or USPP?If so is.
      the name sed on the apphctin submited to them the
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      the screening procedures for the dayofthe event (send
     off se screening formation)
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     If thereis a Marchassociatedwiththeeventplease          N/A
 ovis map ofthe panned march route
 Please provide
            thenames and contact
                              infoofpartners                 N/A
 he spokesperon as been oad with,
Ey                                                                     ——
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        Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 57 of 91




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  have expressed interest/ intent In disrupting your event?




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         Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 60 of 91


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          a)                         Assessment
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 TITLE: Rock Ministries Intl.

 THREAT ADVISORY: REMOTE

Our records indicate Rock Ministries Intl. has held previous events on the Capitol Grounds
(October24, November 21 and December 19, 2020). The events concluded without incident. There
are no plans for participants to engage in acts of civil disobedience; therefore, the Intelligence
and Interagency Coordination Division assesses the Level of Probability of acts of civil
disobediencefarrests to occur during the upcoming Rock Ministries Intl. event as HIGHLY
IMPROBABLE.

Backaround Information: Rock Ministries Intl. describes self as a non-denominational church based
 In Concord, NC.

EventSummary: On Saturday, January 6, 2021, between 1200 and1900 hours, approximately fifty
 (50) persons representing Rock Mises Inl. ilparticipate in a demonsiraton on the Senale East
 Fronl, Grassy Area 8, U.S.Capitol The time frame includes set-up and ake-down.Thespckesperson
 advised portiipants oe gathering for a “prayer campaign encouraging pastors, loaders and cilzens 0
 pray for the United Stales.” Theeventwill consist of prayers and brief speeches. No civil disobedience
 Is planned for this event.

 ‘The spokesperson, Mr. Belton Platt advised that in keeping with their platform of peace - the group
 intends to pray and no engage i otheractivities. Mr. Platt can be reached via cel at (960)SEE
 while the on-site Contact, Mashandia Platt can be reachedat (704) SESE"
 Comment: The following groups have also requested permils for January 6, 2020:1)Area 7 -
1AD
 Virginia Freedom Keepers (0600-1800; 50 ppl), 2) Area 8 - One Nation Under God (0830-1800; 50 ppl).
   WARNING: THIS DOCUMENT IS FOR OFFICIAL USE ONLY. IT CONTAINS INFORMATION THAT MAY BE LAW
   ‘ENFORCEMENT SENSITIV.IT 1TO BECONTROLLED, WANDLED, STORED,TRANSMITTED, DISTRIBUTED AND
   DISPOSED OFINACCORDANCEWITHUSCP DIRECTIVE201.002 RELATINGTOTHE HANDLING      OFCLASSIFIED
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 | OTHER PERSONNELWHO DONOTHAVEAVALID“NEED-TO.KNOW”WITHOUT PRIORAPPROVALOFIAD.
          Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 61 of 91


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               SENSITIVE PERSONALLY IDENTIFIABLE INFORMATION

 3) Area 9 - Bryan Lewis (0830-1700; 50 ppl), 4) Area 10 - Women for a Great America (0700-2200; 50
 ppl). Additionally, several demonstrations related lo the recent presidential election will take place on
thisdate ~ to include the Million MAGA March.Various groupsarealsoexpected          tocounter
 demonstrate. Thegroup spokesperson isawareof theactivityscheduled forJanuary6, 2020.There is                -
 currently no adverse intelligence related to the upcoming Rock Ministries Intl. event.

Ourrecords indicate Rock Ministries Intl. has held previous events on the Capitol Grounds (October 24,
 November 21 and December 19, 2020). The events concluded without incident. Rock Ministries Intl.
 has awebpage and a social mediapresenceon Facebook and YouTube."               ™ Open source reviews
 indicale there are no plans for participants to engage in acts of civil disobedience; however, given the
 number of other protests ongoing nearby on that day, there is a riskofcounter-protesters. The
 ‘spokesperson advised that the organization -which promotes peace through prayer has no plans for
 participants to engage in actsofcivil disobedience. Based on these findings, the Intelligence and
 Interagency Coordination Division assesses the Level of Probability of acts of civil disobediencelarrests
 to oceurduring the upcoming Rack Ministries Intl. event as HIGHLY IMPROBABLE.



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  USCP Risk Assessment Factors
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          Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 62 of 91

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                               UNITED STATES CAPITOL POLICE                                        ons)
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  RecommendationofC0. Special Events                      Approval @_Disapproval Q Comment @
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  1)Area 8- One NationUnderGod (0830-180;
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  5) Area 10 - WomenforaGreal America (1700-2200;50pp) Scott J eins Aso nngs
  4) Area1 - RockMises     Church(1200-1900; 0p) ~gperre ————                              poo
  RecommendationofC.0.ProtectiveServices Bureau           Approval @ Disapproval @ Comment 0


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 Recommendationof Chief of Police                          Approval [] Disapproval [_] Comment [|


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      Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 63 of 91

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                        UNITED STATES CAPITOL GROUNDS
                                           SES: 20-12-25

(1) SPONSORING PERSON AND OR ORGANIZATION
          Virtiia Freedom Keepers
2) AREAOFCAPITOL GROUNDS TOBE INVOLVED
          Sense Park Area 7 bounded by Delaware Avenue, NE; C Sire, NE: Firs Sel, NE; and Stes,
          NE)
3) DATE, TINE, AND DURATION:
    DATE: Wedaesdy, fmiry 6, 2021           TIME: 0600-1800hours               DURATION: 12hours
                                                   (cade stp. ke dow)
6) NUMBER   OFPARTICIPANTS:
           So
(5) PROPS AND EQUIPMENT.
       "Various hndhed signs placards
      4 One(1) stage (14°L x 8'W x2'H)withstaircase
      + One(1) pressriser (8'L x4'W x 2'H)
      = One (1) podium
         Sound system consisting ofhe elowing:
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                    * Two (2) speakers per sideofstage supported by tripodspeakerstand (6'H) secured by
                        tn dg
                    + One   (1)speaker per sidofsage sportedbtripod secker stand (6H)securedby
                        a Sg
            © Four(4) microphones
            < one(i) ising console
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            © One(1) laptop
      4 One(1)LEDscreen
                      (13'L x 7'H)
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      = One(1)Honda EUTO0D gasgeneaior
        One (1) table
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        5 Marshals ill otbe ledfor hs vet.
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     Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 64 of 91

    =                      UNITED STATES CAPITOL POLICE BOARD                                ed
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A Gr              PERMIT RELATING TO DEMONSTRATION ACTIVITIES ON
     a>                       UNITED STATES CAPITOL GROUNDS
                                       SES: 20-12-25


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     +4 DELIVERY                                                         ATANYTIME.
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  ©) Immediately upon he conclusion of    th demonsiraton sctivitycaried aut puss is permit, props,
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        Capitol Grounds. Further, the applica shal ke such action as may be necessary 50.35 eave therom
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                                               UnitedSunes Coptol Police Bord
           Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 66 of 91


                                 UNITED STATES CAPITOL POLICE
cra                            SPECIAL ATTENTION MEMORANDUM
                                                                                            ons)
 Time Forwarded _______                                                      SESNumber: 20-0225
 Date Forwarded:                                                             SES Occ
Date:                            ‘Wednesday, January6, 2021
 Time:                           10600 1800hours includesset-up take-down)
Duration:                        12 hours
 Number of Participants:         50
Location(s):                       Senate Park - Area 7 (bounded by Delaware Avenue, NE; C Steet, NE; First Street,
                                   NE; and DStreet. NE)
Name(s):                           Virginia Freedom Keepers
 TypeofEvent:                      Demonstration
 Spokesperson:                     Marsha Lessard           Christina Skaggs
 ‘Telephone Number(s):             (©COEEE                   (C) 209
 Spokesperson’s Address:           On File in Special Events
Note:                              In accordance with Standard OperatingProcedure AC-000-63, the Section
                                   Commanders for theSpecial Operations Division, Sections One, Two and Three
                                   will be responsible for completing 1 Follow-Up Report CP-44, within three
                                  warkiagdaysof this event.
 Remarks:
           On Wednesday, January 6, 2021, between 0600 and 1800 hours, approximalely fifty (50) persons representing.
 Virginia Freedom Keepers will participate in a demonstration in the Senate Park — Area 7. The spokesperson
 ‘advises participants wil gather for“a ally for health freedom.” The spokesperson hasalsoadvised that speakers from
 ‘across the nationwhoare advocates for freedom, sovereignty and health wil address participants. Actual event time
 will be 1000to 1600fours.
          Menibers  ofCongressmaybe invited, however none hadbeen invitedatthe timeof writing. Press has not
 ‘been invited.CivilDisobedience isNOTplanner       for this event.Thespokesperson lias advised thatpropersocial
 distancing will bemaintainedfor the durationofthe event.
          ‘The following props / equipment are authorized:
               “Varioushandheldsigns /placards.
               “One    (1)stage (14'L X 8'W x 2'H) withstaircase
               “4 One(1)pressriser (8'L x 4'W x 2'H)
               “One (1) podium
               “Sound system consistingofthe following:
                       © Six (6) JBL VRX932LA line array speakers (23.5"L x 13.5"W x 14.3"H)
                               * Two (2)speakers per sideofstage supported by tripod speaker stand (6'H) secured by
                                   natural sandbags
                               * One (I) speaker per sideofstage supported   by lripod speaker stand (6H) secured by
                                   natural sandbags
                       © Four(4) microphones
                       © One(I) mixing console:
                       o One (l)lapiop
   formset          ESCOMSTONDEKCEAUSTDETAEATED
                    rbeedeefheUS          GncmetosaeASLAW ENFORCEMENTSENSITIVEANOS
                                                            ldpisDoan ot arm       FOROFFICAL USEONLY
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         Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 67 of 91

VicginiaFreedom Keepers,Wednesday,January.6.2021(cont'd)
                          Niriou cables for camnecivly
           +One (1)LED ren (FL x TH)
                     Composedof iin (16) LED panels
                  ~ placed onstage;securedwithballast
                     to provide vide display ofspeakersofevent
                  © LED    Screen-averallmax height must ot sxcsed 9H; averal max length must not exceed
                     BSL
           + One(1) Honda EUT00i               gasgenerator
           = One) uble
           “Sixteen (16) metal bike racks (8'L x 43"H)

                    © Placed    aroundwillstages
                        Bike racks         ave annotenclosedorsuschd
                                                   opening between he rackscach thr
                Mahle wil not beuilzed fo his Even.
           % Elecrial power has not been requested. or avalble at is i.
       The 3"spokesperson
                Generators)hasmust
                               ben advisedofthe lloing:
                                    be fuled and reused ifCaptol Grounds.
             # Items cannot be tied (nailed. stapled or affixed) to any trees/fixtures. Non-breathable material (i e..
                           plastic, plywood, cic.) s prohibited from dicectly covering wef
                                                                                        o other living landscape assets. Posts
                           nd sis ust be 0 mare than in dimeer, inser o dsper (han 5° he ground, ond
                           approved
                           Per
                                 by US. Capitol Police Special Events with ia review bythArchitetofshe Copal.
                 theArchitect of the Capitol, only natural burlapsandbags
                                                                     areallowedfor useonthe turfto
             protectthe grounds fromany damage.      No synthetic          vensandbags
                                                                                   areallowed.
           *       in vss   n      Ini              i   eh
                                     12 .20, ihe projection
                                                      ofimages onto           rss
                                                                      dings willnot Sim ted
                                                                                          Cate3ndis
                           pr     itedon Capitol Grounds.
           + Height Resiction:Nosingle pro, piece ofequipment    rcombination hereofmay exceed ifleen (15)
              fect inbeight
              Stages, Rises and Psforms:Nostg, ier   orplatform may exceed wo (2) feet in height
             MuseInsccordance wil the Taf Regiosfo ih United Sts Capitol Grounds, Section 12.30)
              “Ceremonial Evens& Entrsinment” musical ar no considered demorstaions an reqie Caplio Police
              Board Approval.
           + Thevolumeofhe
              Tripods nd lighingsound will
                                         bekept 0minimum and directed away fom Congressional Ofice Buildings.
                                  quipment are aulorz=d on grassy seas only and must no pede pedestriano
              vehicular ral. PhotosFi taken musnolbeusedfoany commercial purposes:
              Ten, cabanas anopis or ty ther covered Srucurs sr Expres prohbIG.
          “Solic ta ion,               commercialization, andfor advertisementof anykindsreexpressly prohibited.
          “Delivery vehicle(s) must report to USCP OfT-Site Delivery, 4700 Shepherd Parkway, SW, for
              Ini scrcsning (force trough ride during operationalhours 01301300hours. Then
           = Delivery vehicle(s must reprt to Nw Jersey 0dC Steet, NWfo secondaryseca (Ail
              afier 1300 onsandon the holidaysandweekends. delivery vehicle(s) willrespondto this location
             Jormilscreening ont.
              Deliveryvehicle(s) must unlos 5d elond cquipmet los the Roth curbofD iret, NE,
              between Delaware Avenue, NE and First Steet, NE.
           + Upon unloading, delivery vehicles) must depart Capitel Grounds and not rer und
              conclusionofhe event.
           + DELIVERY VEHICLES) MUST NOT BE LEFT UNATTENDED AT ANY TIME.
          +“ EQUIPMENT MUST BE HAND-CARRIED OR HAND-CARTED TO THE EVENT SITE.
              BARRICADE ACCESS IS NOT PERMITTED.
            SPECIAL OPERATIONS DIVSION PERSONNEL WILL INSPECT ALL PROPS AND
              EQUIPMENT, AND MONITOR THE EVENT.

       Paricpant will ave nd depart via public snd private transportation. The spokesperson hasbeen advised
‘parking
  isnotsuthorizedon Capitol Grounds.
  The Capitol Police Bosrdhas sued
                                apermit fr this event,
 etme        CORNEA ITBTBATED SEE    1 ESFORCAETSTEAK     STORESONL
                                                       A OSI                                                          ren
        Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 68 of 91

VirginiaFredoKeepers,Wedsesdo,Jonuors62021fcont'd)
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                                                     Special Events Unit
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          Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 69 of 91

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                                    U.S. CAPITOL POLICE BOARD_ ~
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                                                                       Tacrpunds
                                  VignaFreadomKeepers
1. Organization andor Spokesperson:                                 -
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                                                                                    2. Dateof,

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 borHon Fest
          Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 70 of 91


 To                               U.S. CAPITOLPOLICE BOARD                    ET
                                            19 Street, NE.
                                        Washington, D.C. 20510
                          Applicaton for PermitUndorArticle XIXOfThe Traffic
                     And MotorVehicle Regulations for United States Capitol Grounds
14. Prog and Equant—Allpopsandsqpment mus be mindBy organizationor spokesperson.
                          Plasabaspeci, nde quanios snd dinersions ofal ems
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     Soon)                       Pres Rar
  Tables                     TT Ponatle Sound Sytem (Describe)
B Quanity         1           1258X24°H Riser wit(1 stlcasa, and black sing on 3-sides
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        Ie
 sand bags to secure sound
 16 baricades/bike racks o surond siege
 ‘Agenerator wil be used fo powar sound. 1wil not be fused on the grounds.
 15. Wl ecical powerbeeq? (Aaa ryaL WestFronGrassyArea andPaUpperSertaPak)
                                    Yes               No
 7Esme se Vopan aggon Cpe Gone                                       6 WiMaa       be utizad?
                                                                                          s Yor     No
   fa                                                                   Howmany?
 To,Orvalcontac.MarshaLossard                                          Howwil baybe donated?
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      Emi adress. marshalossard@gum"
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     yes pase olan
Nogroupsthatweknow of are opposing
PS                 VarshaLessard              havemadandack      mowidos
                                                                     1U.S CaplolPaceBoard
     2                                         Domonsration Cudaines
               SPOKESPERSONS NAVE (Pri)
                              .                                      122320
                MarshaLassara
          SPOKESPERSONS SIGRATURE                                ATE
                                        NotVat Unt Signed
         FOR MORE EXPEDITIOUS PROCESSING, PLEASE RETURN APPLICATION VIA: FAX: (202)282429
               Mal Harddover 0 US. CapoPolesSpecialo EvansDivison. 119 0 5, HE,Room #102
                                Open 700.3. 000pm Monday tough Fray.
                                           Office.(202) 224.8891
         Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 71 of 91


cP

    i is
20-12-25 - Initial Application (no Event Purpose provided)



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                                      U.S. CAPITOL POLICE BOARD            SEUS




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                        ‘AndMotor Vehicle Regulatio
                                               forUnited
                                                     ns States Capitol Grounds




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{2 Demonstra
         (Rally,Vigd,ete.)
                tion                  O FismingPholography         0 MusicalPresentation.

0March(Provide Routa)                 0RoadRace                    OOther(Describebelow)
          Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 72 of 91


cP40.                               U.S. CAPITOL POLICE BOARD                  SEU¥
                                         119 Sires, NE.
                                     WashinD.C.20510      gton,
                        Applicatonfor PermitUnderAricaXIXOfThe Traffic
                   And Motor Vehicla        Regulations for UnitedStatesCapitolGrounds
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or.                4-5           SoundSystem(Describe)
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 75.0ntecntct MarshaLossard                             How whe   bo rtad?
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    yo,pesso pln:
‘Anygroupsthal oppose theconstitution andfreedom


                   MarshaLessard                   havereadand
204,                                               OommenSoni                    oo
                                                                      jo theU.S,CapitolPosieBoard
                'SPOKESPERSON'
                         NAME(Print)S


              MarshaLessard                                         1723/20
         SPORESPERSONSSIGNATURE                                   aE
                                    NotValld nthSigned
        FORMOREEXPEDTIOUSPROCESSING,PLEASERETURNAPPLICATION VA: FAX:(202)228.2420
             Ma anddart:US.Capo!Pol,Sopc EventsDison, 1190 SL, NE.Roam #102
                           Open7:00am.ko8:00p.m.MondaytheoughFriday,
                                       Otc   (202)224.881
                                                     :
              Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 73 of 91


              Coordination Questions for [Virginia Freedom Keepers & SES #20-12-25| [January
                                                                                          6, 2021) [Area #7)
                                      Phone conversation: 12/29/20202 @ 0955 hours
       you Fave ry theravers anned nthecy Ho,
    lessprovide te location re and estimated umber
    of pariipant.
   Haveyouspoken  with MPD,NPS, and/orUSPP? IfsoIs.
    th name tdon the sppiction submited 0 them the
    Same 55what was ube to USC any faplcable
   toevent)

   ro
   Grounds?               PonTgy           0VECte Private /Public Transportation
  | How does your group plan to disperse from US Capitol
  Gran                                                    |
    veyou planing      March IF what th tr and ip 0
   oftimes and where? Valdate (hs formation wih our
      Ay
   aveyouor amore in you group spread nin WO
  eno iC Degen                                                                                               |
   osu ou veswee SIT rs                                     Heh Flor a a rd dvd mnt |
   event?Doesyour group have soil media account for be use 10 spread he word for this vent. The event willbe
   this event?                                              livestreamed
                                                                       byane of the speakers                 |
   re you sntcipting heus of30oral rope 33                  Rapes and tations  or bike racks
                                                                                          o  legate 33 Tor
   equipment other ham what was sed on your                 even, Ares for speakers separa rom tear for
   Sopiction fo pless rove detd lormaton, __ parcigants
   D0 you have photos oftheequipment that you plan on Nota hs me
   wing?
   Howdoyou plan on supporting your equipment? Speaker Quote fromvendor will be emailed for review
   stants, stages, evel ei.
   ow wil lingghotograhy be sed? Fo personal ss |Wilbe oe reamed
  oriverising ammergalpupases?
   “Are you aware of any specific grouplsl/person(s) that   No
  haveepresad      interes tenndrupting your event?
   ‘Email addresses) foral points ofcontactfor your event.
                                                          anci rom anotherparier organization and hr
                                                          contact infomationwil be provided fiom Marsha
  VS oration be ved 2 sing ares or Boparl No
 locatonfor 3 Marchotwilbe solelyuke for                |
  demonstration purposes?
  Plssa confi thtyourvendor Has BEER ade ware of |Vendor fara wil be eral
  the crening procedures forthe dayof the even 160d |
  offsite screening information)
  she spokesperson contractor wha Was Been red to | Member         of rgamzatan
  organize the evento actual member  ofthe group
  slaning theven?                                                                                     .
    thereis a March associatedwiththeeventplease          nA
  provide a map ofthe planned march route
  Please provide the names and contact infoofpartners.    N/A
  the spokesperson has beenin contactwith
                                                          Maybe
[asthegroupimitedPrestotheevents                       [no                                                     |
            Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 74 of 91


            ‘Coordination Questions or Vigila Freedom Keepers SES £20-12-25] Uanuary 5, 2021] [Area 7]
                                     Phone conversation: 12/23/2020 @ 0955 hours
 “The spokesperson advised that this events in regard ofirstamendment rights i association with informedconsent for
 health and vaccination. Th groupisnot necessrly associatedwithothr events tht il be taking lace on the same
 date in the area ofthe US. Capiol. They are awarethatthere will beothr activity taking lace an Capitol Grounds but
theractivity snot relatedto thelr message.
 Actua event ime will be 1000-1600hours - will eed to amend thestart and end ime to accommodate set up and take
 down for props and equipment

 12/28/2020 1400 hours - email recsived
 SP provided further follow upva email about the use of bike racks to fence of th stage from participant area.
 Fourteen bike racks (81x43). also provided vendorcll phone number.
 12/28/2020 1410hours
 Called Vendor (Mike) and he confirmed thatthe sandbags are made ofa natura breathable material and th speakers
 wll beset up o the ground using speakerstandswith a max helght of and with wo sets of two 12” ine aay
 speakers onthethe otal height wil be approximately §'H (will ot exceed 15') and wo sets ofone 12 ne array
 speakar onspeaker ipod stand.
 Healsoconfirmed that he is familar with thesecurityscreening proceduresfodefiveries as hehasprovided services to
 events on Capitol Groundsi the pas.
          Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 75 of 91

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             SENSITIVE PERSONALLY IDENTIFIABLE INFORMATION




      STS                                              "                     .
     de®);                  Demonstration Permit
       =                               Assessment
    emit                          [oom
 TITLE: Virginia Freedom Keepers Demonstration
 “THREAT ADVISORY: HIGHLY IMPROBABLE

 Open source reviews were negative for any planned counter protest activity against the
 upcoming event. At this time there is no adverse intelligence related to the upcoming event.
BackaroundInformation: Virginia Freedom Keepers describesitself as a collective voiceof over 10,000
 Virginians seeking to raise awarenessofcurrent and upcoming legislation regarding medical freedom.

[EventSummary: On Wednesday, January 6, 2021, between 0600 and 1800 hours, approximalely fifty
 (50) persons representing Virginia Freedom Keepers will participate in a demonstration in the Senate
 Park — Area 7. The purpose  ofthe event is lo conduct
                                                     “a rally for healthfreedom.”The event will include
 speakers from across the nation who are advocales for freedom, sovereignty and health. Actual event
 time will be 1000 to 1600 hours. Members of Congress may be invited, however at the time of this writing,
 none have been invited. The press has not been invited. The spokesperson advised civil disobedience
 is not being plannedforthe upcoming event.

 “The spokesperson, Ms. Marsha Lessard, advised that neilher she, nor members of the demonstration,
 have any intention of entering Congressional office buildings to lobby Members of Congress.

 1ICD Comment: Open source reviews were negalive for any planned counter protest activity against
 the upcoming event. At this time thereisno adverse intelligence related tothe upcoming event.

 ‘There are no racords of Virginia Freedom Keepers conducting prior events on Capilol grounds. Virginia
 Freedom Keepershas a webpage’ andsocialmedia presence on Facebook’, Twitter and Instagram.
 A Facebook event page, for a prior event held on Wednesday September 2, 2020, in Richmond,
 Virginia is listed on their Facebook page as the most recent event. At the present time, the organization

   WARNING: THIS DOCUMENT 5 FOR OFFICIAL USE ONLY. T CONTAINS INFORMATION THAT MAY BE LAW
   ENFORCEMENT SENSITIVEIT IS TO BECONTROLLED, HANDLED,STORED,TRANSMITTED, DISTRIUTED AND.
   DISPOSED OFINACCORDANCEWIT USCPDIRECTIVE2011.02RELATINGTOTHE HANDLING      OF ASSIED
   ANDOTHERSENSITIVE BUTUNCLASSIFIED INFORMATION   AND iS NOTTO BE BELEASED TOTHEPUBLICOR
 | ‘OTHER PERSONNEL
             WHODONOTHAVE A VALID “"NEED-TO-KNOW=
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               SENSITIVE PERSONALLY IDENTIFIABLE INFORMATION
 does not haveanaciive Facebook event pagefor the upcoming event, however, the eventisposted in
 the newsfeedofthe organization's Facebook page. No adverseinformationwas identified on the
 Virginia Freedom Keepers social media pages. Open source reviewsindicalethereare noplansfor
 participants to engage in acts of civil disobedience. Ms. Christina Skaggs, (209) GEER. is the point            =
ofcontactforthe upcoming event. Although       al this timethereis no adverse intelligence related (0 the
 upcoming event, this event is one of multiple events permitted on Capitol groundsfor Wednesday,
 January 6, 2021, and counler-proleslers may be present. Based on these findings, the Intelligence and
 Interagency Coordination Division assesses the Level of Probabily ofactsof civ disobediencelarresls.
 to occur during the upcoming Virginia Freedom Keepers demonsiration as highly improbable.
Information containedinthis documentis currant asof 12/30/20
                                                          @1800
                                                             20 hours.                                      Ek

  Dale Rucaad 6D. 12020



                                     USCP Risk Assessment Factors.
                      Remo                        1                         T5%

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Sources:
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          Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 77 of 91



                                  UNITED STATES CAPITOL POLICE                                    ane)
                               DEMONSTRATION ENDORSEMENT SHEET
SESNUMBER              Bani
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 ‘RecommendationofC.0. Special Events                      Approval@ _Disapproval 0 Comment @
 01.04.2021 thu 01.10.2021                                        Facilitate with Existing Manpower 0
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 Pressnotinvied.                                        Grossi, Sasane
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 Recommendation
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 Recommendationof AssistantChief ofPolice                       Approval[7] Disapproval[_] Comment
Protectiveand Inteligence Operations                                    [4] spr                    u



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 [RecommendationofAssistant
                     Chief of Police                        Approval[7] Disapproval [_] Comment [|
 UniformedOperations

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                                                        ChedB. OE                                  —
                                                       Signature  oar
 RecommendationofChief
                   ofPolice                                 Approval [/] Disapproval [] Comment]


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                                                        A              ne
                                                       Signatre                        Date
     Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 78 of 91



Ca y:
4                             UNITED STATES CAPITOL POLICE BOARD                                       bE
AR                          WASHINGTON, D.C. 20510                  Phone: 202-224-9806                  cris
Diet                    PERMIT RELATING TO DEMONSTRATION ACTIVITIES ON
   E>                                UNITED STATES CAPITOL GROUNDS
                                                  SES: 20-1218
(1) SPONSORING PERSON AND ORORGANIZATION:
        ‘Women for a Great America / 50+Daysof Blessing
(2) AREA OFCAPITOL GROUNDS TO BE INVOLVED:
        House East Front, Grassy Area 10 (bounded by the South Mezzanine sidewal; First
        Steet, SE Southesst Drive and the East Front Plaza) (Monday, January 4, 2021 & Wednesday, January 6
        through Sunday, January 10, 2021)
        House East Froat, Grassy Area 11 (bounded by SE Drive; First St, SE; Independence Avenue, SE and East
        Front Plaza) (Tuesday, Jamary     5, 2021)
        “The spokcsperson has been advised hat the Congressional Press areai the House East Front Grassy Area
        is mot a permitid arca. The demonstration i permitted u0 closer than thirty (30) fet from the
        Congressional Press Arca.
3) DATE, TIME. AND DURATION:
     DATE: Monday, January 4,2021                  TIME: 0700- 1600 hours                DURATION: 9 hours
              Tuesday, Janary 5, trough                    0700 2200 hours                          15 hours
              Sunday, January 10, 2021                   includessep /takedown)
(4) NUMBER OF PARTICIPANTS:
             0
(5) PROPS AND EQUIPMENT:
    “The following props / equipment are authorized:
           One(1)stage (12Lx 12W x2'H)
         + One (1) podium
         4 One(1) batterypoweredBose S1 ProBlueioothspesker (12'L x 13°H)
         = Two 2) microphones
           One(1)keyboard      (S'Lx 17'W)
                       One (1 keyboardX stand
         “One (1) Beringer portable mixer
                  + Two(2) 10'L XLR cables
             One (1) Yeti 300x porable charger
             Fifty (50) chairs
         + One (1) comera
         = One (ipod
         4 Elecrical power has nol been requested, nori it availableat this site
  “The spokesperson has been advised of the following:
             “Items cannolbe tied [railed, stapled orfixed](0any trees/ixiures. Non-bresthable materia ic.
             plastic, plywood, etc.) is proibied from directly covering rf o her living landscape asses. Post and
             stakes must be no more han 4” in diameter, inserted no deeper than 9” int the round, and approved by
             US. Capitol Police Special Events with final review by the Architect ofthe Capitol”
             PertheArchitect ofthe Capitol, only natural burlap sandbags ars allowed foruseon the turfto
         + Height Restriction: No single prop, pieceofequipment oF combinationthereofmay exceed ffeen (15)
             feetinheight.
             Stage, Risers and Platforms:Nostag, rise or platform may exceed two (2) fet in height.
         + Music - naccordance withthe Taffc Regulations for the United States Capitol Grounds, Secion
             12.130 &) “Ceremonial Events & Entertainment” musicals ae ot considered demonstrations    and require
             Capitol Police Board Approval.
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    A:                           UNITED STATES CAPITOL POLICE BOARD                                           ase
    HERR                      WASHINGTON, D.C. 20510     Phone: 202-224-9806                                  wong
    Se                   PERMIT RELATING TO DEMONSTRATION ACTIVITIES ON
        6”                             UNITEDSTATES CAPITOL GROUNDS
                                                SES: 20-12-18

            4 The volumeofthe sound will be kept to a minimum and directed away from Congressional Office Buildings.
                Tripodsand lightingcquipmentar aulhrizedongrassyareasonlyandmustnol impedepedestrianor
                 vehicular rai. Photos. film taken must not be usedforany commercial purposes.
            # Tenis,cabanas,canopiesor anyothercoveredstructures
                                                             are expressly prohibited.
            “
            4 Delivery vehicle(s) must report to USCP OIT-Site Delivery, 4700 Shepherd Parkway, SW,forinitial
              ‘screening (MondaythroughFridayduringoperational hours0430-1300 hours). Then
            “Delivery vehicle(s) must report toNew Jerseyand CStreet, NW forsecondaryscreening (Arrival
                after1300hours andon the holidaysandweekends,deliveryvehicle(s) willrespondto this locationfor
              nialserening only).
                Delivery vehicle(s) must unload and reload equipment along thewest curb
                                                                                    ofFirst Strect, SE
              (niched!/ cat out area) between Independence Avenue and East Capitol Steet, SE.
            = Upon unloading, delivery vehicle(s) must depart Capitol Grounds and nat return until conclusion
              ofthe event.
              DELIVERY VEHICLE(S) MUST NOT BE LEFT UNATTENDED AT ANY TIME.
            < EQUIPMENT MUST BE HAND-CARRIED OR HAND-CARTED TO THE EVENT SITE.
              BARRI          ACCESSISNOTPERMITTED.
                                         CADE
            < FIRST RESPONDERS PERSONNEL WILL INSPECT ALL PROPS AND EQUIPMENT, AND
                MONITOR THE EVENT.
      NOTE: STAGING PARKINGISNOT AUTHORIZEDONCAPITOLGROUNDS,
    (6) The authorand persono organizstion named in clause (1)ofthe Perit s eniled to wile th araofthe United
        Sites Capitol Grounds described in clause (2), and any props or equipment described in clause (5) of this Perit in
        caning ou. duing the dae and time set fort in clause (3) of this Pen, thei igh o engage in pesceable and
        orderly demansiraton acivies (s defined in Chapter 12, Section 12.10 of the Trafic Regulation for the United
        ‘States Capitol Grounds).
    (7) nord 10ase he safety and convenience ofll he people in the exerciofthei right isi the Navion's Capt,
        0 cal at he otcofRepre nitive and Senators, 0 bierve public proceedings ofCongres, petion the
        ‘Congres for eresof grievances. engage in peaceable and oxdery conduct ofay hein before, oranydeliberaion
        of, any commieo subcomitee ofthe congress ether House theeo,oruneasonably nerfre wilh the
        minicnance ofgood order on he Copitol Grounds,the Capitol Police Board hereby nchudes a ptafthis Permit he
       followingconditions and time limitdons which he Capitol Police Board has determined necesan      nord 0
        minimize he absautiono impedimentofvehicular ad ober ali Gicluding pedestrian raf) through              o within
.      {heCopia Ground                        s thereof:
                               ondtossureth safety
            6) nthe vent offi foros scheduled ha could conflet with his demain. the demonstors wil
                  lear he respective arc prior sid fonction, nd eur ae sd uncon has depared the Capitol Grounds.
            (6) Any display ofsigns, baer, plcards, an relied ems i scl prohibited inside al Capiol Buidings
                  Licance may no be distributed in the allayofany building on Capitol Grounds.
            (©) Wis forbidden to offeror expos any atc for sls in sid United Sates Capitol Grounds lo display any Sign.
                  placard, or otheformofadvertisement herein; sali fre, als. Subseiptions, of conbutions herein.
            (d) The sciting-up, placement,
                                        or storageofcamping equipment. tents, sleeping bags, bedroll, bedding of any kind
                orshelofany ind, st any time, prtibied. Any sleeping or ing down on the paved o improved
                portions ofthe Building and Grounds (uch as sets, roads,sidenalh, walkvays, eps, curbs, puters,
                doorways, alcoves, wal) a any time i probed. Any sleepingo ing-donn on any spaved of
                unimproved (72) ponon ofthe Grounds romone. hourafl sunset on-hlfhourbeforesuns,
                prkibied
     Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 80 of 91



po    =NG                      UNITED STATES CAPITOL POLICE BOARD                                                158
ARR                      WASHINGTON, D.C. 2010                      Phonc: 202-224-9806                        a9
Vt?                 PERMIT RELATING TO DEMONSTRATION ACTIVITIES ON
     =r                           UNITED STATES CAPITOL GROUNDS
                                           SES: 20-12-18
      ©) Immediaiely pontheconclusion fhe demonsition activity cared out pursuant 1 his permit, ll pros,
         eaupment and felis permied under Chater 12 Section 12.510 fheTrafic Regulations frCapel
         Grounds,  ich have been sed in comnecron with sochactivity shall be removed by th apikan From
         Capitol Grounds. Further.teapplicant sal ake such acon 36 may be necessary0.3 to eve the Capital
         Grounds na essorably 0d and clean coniion a atwhich          exis immeciaely ror oe
         commencencntofuch civ.
      (0) ‘convocation,
          Asa condiioneic.)precedent othe isuancoftis Pei, ll paticpans in the proposed demonstration (parade.
                             shall agree not to carry on his/her person any firearm, explosive. club. missile, chemical or
          alter incendiary deviceo any othe weapon;
          1o become ignitedany ignable otras for tecandies,        torches. anes, ams, i. whi inteo 0 cou
                                                             pupsofproducin
          ace oto cay any support for igs, baer, placards, cic. hich g more          ane, Father, arpa shall
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          Square i rest point. All suport must ve dol endsan cannot nan ay                     be constr sa weapon.
          There hall be no ral, screw, or boliype Fasiering devices priming rom any support.

     01/04/2021                    B                         © SL S S/                                     =
      (Date Approved)                                        Member,
                                                              UntiedStes Caplio Police Bord
      ste Approved)                                          Charman,                                     )
                                                             UnitedStes Capital Pll Bd
          Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 81 of 91



                                UNITED STATES CAPITOL POLICE
 rm                           SPECIAL ATTENTION MEMORANDUM
                                                                                                    on
 Time Forwarded:                                                      SES Number: 20.12.18
 Date Forwarded:                                                      SES Coordinator: SERESRST
 Date/Time
     /Duration:             Monday, January4,2021           0700-1600hours 9 hours
                            Tuesday,January Strough 0700-2200hours 15hours
                            Sunday, January 10, 2021
  Numberof Participants: ~~ 50
Location(s):                House East Front, Grassy Area 10 (bounded by the South Mezzanine sidewalk; First
                            Stree, SE Southeast Drive and the East Front Plaza) (Monday, January 4, 2021 &
                            Wednesday, January 6 through Sunday, January 10, 2021)
                            House East Front, Grassy Area 11 (bounded by SE Drive First St, SE; Independence.
                            Avenue, SE and East From Plaza) (Tuesday, Janary 5, 2021)
                            “The spokesperson has been advised that the CongressionalPress area in the House.
                            East Front Grassy Arca s not a permitted area, {0 include the canopy area. The
                            demonstration s permittedno closer than thirty (30) fee from the Congressional
                           Press area. Setup of materialipersons  on any AOC grates,isnot permitted.
  Names):                   Womenfor a Great America 50+ Days of Blessing
  Type of Event             Demonstration
 Spokesperson:              Andiea Lote              On-Site Contact: Hannsh Bunn
  TelephoneNumber(s):          ©) 0 am—                                 (©) (817) —
 Spokesperson Address:         On Fil in Special Evens
 NOTE:                         In accordance with Standard Operating Procedure AC-000-63, the Section
                               ‘Commanders for the First Responders Uni, Sections Two and Three will be
                               responsibe for completing » Follow-Up Report CP-44, within three working days of
                               his event.
 Remar:
        On Monday, January 4, 2021 (0700-1600 hours), nd Wednesday, January 6 through Sunday, January 10, 2021
 (0700-2200 hours), approximately ify (50) peesonsrepresenting  Women for a Great America
 ill parte 3 demorsaon on e Howse Eat Front Gres Are 10, US Cpt S0+ Days of Blessing,
        (On Tuesday, January 5, 2021, between 0700 and 2200 hours, approximalcly iy (50) persons representing
 amen ora Grad America 50+ Days of lessng, will pricipi fn demonstaon                on the Howe Ex Fro, Grassy
 Area 11, US. Capitol.
        “The spokesperson advises the purpose ofthe event is 1 “pray and worship
                                                                               forornation,” The event will consist
ofmultiple speakers with congregational music niecudes. Th actual timeof th event cach day will begin 1 0700 hous
 MenbersofCongress lave been nviled      toattendthis even, however, none have confirmed   atthe imeofhis writing.
 Pres asnot bec invited. Nocivil disobedience splanned.
   “The following props equipment are authorized:
        = One (1) sige (12'L x 12W x 2H)
        = One (1) podium
           One(I barery poweredBoseS1ProBluetooth speaker(12°L x 13°H)
        # Two (2) microphones
        = One (1)keyboard (5"L.x 17°W)
               «One    (1)keyboardX stand
           One (1)Beringer portablemixer
               «Two (2) 10'L XLR cables
  tmnt       [TSCOMNESIONDECE
                    ed ne 3MUST6TREATEDASLAWENFOACEAEST
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          Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 82 of 91




                 One (1) Yeti 300x portable charger
             @ Fiy (50)chairs
             © One (1) camera
                 One (1) tripod
                 Electrical power  ha notbeenrequested,nor sit available     a hisice:
       The spokesperson has been advised ofthe following:
                 “lems cannotb tied nailed, stapledoraffixed) 0 any trees/ixtures. Non-breathable material ic.
                 plastic, plywood, etc.) is prohibited from directly covering ufo other living landscape asses. Post and
                 tales must be no mr than 4” in diameter, insertednodecper than 5” intoth ground, and approved by
                 US. Capitol Police Special Events with final review by the Architect ofthe Capitol”
      ® © Perthe Architect of the Capital, ony natural burlap sandbags areallowed for use on the turf (0
                 protect the grounds (rom any damage. No synthetic or plastic wovensandbagsare allowed.
                 Height Restriction: No single prop, pieceofequipmentorcombination thereof     mayexceed fifteen (15) eet
                 in height.
                 Stages, Risers and Plaforms: No stag, ser or platform may exceed two (2) eet in high.
                 Music In accordance with th Trafic Regulations for       th United Staes Capitol Grounds, Section 12.1.30
                 (©) Ceremonial Events & Entertainment” musical ae not considered demonsications and require Capitol
                 Police Board Approval
                 The volume ofihe sound will be kept 10a mirimum and directed away from Congressional Office Buildings.
               Tripodsand lighting equipment re authorized on grassy area only and must not impede pedestrian or
                 ‘vehicula traffic. Photos/ fim taken must nok be usd for any commercial purposes.
             + Tent, cabanas, canopies or any othrcovered structuresar expressly prohibited.
             + Solicitation, commerciallzation, and for advertisementofany kind are expressly prohibited.
             <= Delivery vebicle(s) must report o USCP OIF-Site Delivery, 4700 Shepherd Parkway, SW, for Initia}
                screening (Monday through Friday during aperational hors0430-1300hours). Then—
                 Delivery vehicle(s) must report to New Jersey and C Sircet, NWfor secondarysereeaing (Arrival
                 afr 1300hoursandon he holidays and weekends, delivery vehicles)willrespond         tothislocationfor
                 nilscreening only).                                                   a
                 Delivery vehicle(s) musé unload and reload equipment along the west curb of First Strcel, SE.
                 (niched / cut ut area) between Independence Avenue and ExstCapito Street, SE.
                 Upon unloading, delivery vehicle(s) must depart Capitol Grounds and not return until conclusion of
                 the event.
                 DELIVERY VEHICLE(S) MUST NOT BE LEFT UNATTENDED ATANY TIME.
             “ EQUIPMENT MUST BE HAND-CARRIED OR HAND-CARTED TO THE EVENT SITE.
                 BARRICADE      ACCESSISNOTPERMITTED.
                 FIRST RESPONDERS PERSONNEL WILL INSPECT ALL PROPS AND EQUIPMENT, AND
                 MONITOR THE EVENT.
        “The pacticipans wil arive and depart via publi ransportaton. The spokesperson has been advised that po
                            on Capitol Grounds.
‘parkingorstaging isauthorized
        “The Capitol PoliceBoardhas issued apermit for this event.

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                                                                        Special Events Section
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        Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 83 of 91




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                                           WashinD.C.  gto2051n,0
                             Appilcationfor PermitUnderArticle XIXOfThaTraffic
                        And MotorVohicleRegulationsfor UnitedStatesCapitol Grounds
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                      Womenfor aGraatAmerica/50+ DaysofBlessing                            2Dat ofApplicatio
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stamendment     platform pryerand worshipforournation
         Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 84 of 91




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            Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 85 of 91




cro                                      US. CAPITOLPOLICEBOARD                      seve
                                                  19D Street, NE.
                                               Washington, D.C. 20510
                                 ApplicationforPermit UnderArticle XIXOfThe Traffic
                           ‘And Molor Vehicle Regulationsfor Uniled States Capitol Grounds
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         Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 86 of 91




Ed                              U.S. CAPITOL POLICE BOARD                sur
                                        1190 Street, NE.
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                                                D.C. 20510
                      ApplicatonforPermit UndorArticleXXOfTha Taffc
                 AndMotor Vahicls Regulations forUnltsdStates Capitol Grounds
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                Ma Hand diver Us.Capt Pols,SpaceEvrisDison, 19D SL, NE. oom#102
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Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 87 of 91




           fre ps            + E q vpment
               one12,1216" stage
                Comprised of
                4-48platforms at 1501bs each
                14x platform
                Stepe* high
                stage Podium
                S0chairs
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                two handheld sure microphones
                Tuo 107XIR Cables:
                One Keyboa     XStand
                                  rd
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                One Beringer Portable Mixer
                One Yeti 300x PortableCharger
 Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 88 of 91




      @                  UNITED STATES CAPITOL POLICE
                          SPECIAL EVENT SECTION
                    EVENT PROCESSING PROGRESS SHEET
Event: Womenfor a Great America                                 SES: 20-1218
1247-2020 11015 hrs   Contactad the SIP on her call phone to confirmreceiptof
                      application and to go over her Information.
                      SIP did not answer & VM Box full, sent email.
                      At 1530, SP emailed response for updated application.
1248202010911 hrs        Attempted to contact SIP, no answer.
128.2020 11130 hrs       Attempted to contact SIP, no answer.
           1425hes       Called again, VM Box full, sent email.
1221-2020 8561 hrs      Called SP, no answer. Emalled SP
           1020hrs      Called SP, No answer.
           1330s        emailed SP to follow up updated application No. response
           1700hrs       emalled SP again, no response
12:22:20201080 hrs      SIP called me back, we discussed theapplication
                        and went over the rules and regulations. Advised we need props &
                        equipment immediately
                        Sent follow up emailat0340 hrs
            1341s       SIP sent some of the equipment via email
12:28-2020/0800 Ms      Called SP, no answer

Spokesperson is extremely difficul
                              tomaket contact with. Rarely answers phone and does not
respond to emails very often.



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 Do you haveanyotherevents planned     inthecity? If so, | No
 ‘please provide the locationtime and estimated number




  » a
  the name listed on the application submitted to them the
                                                               m—




    Ea                               a
  off times and where? Validate this information with our




  application? Isopleaseprovidedetailed information.          |
  Do you have photosof the equipment that youplanon          | Yes.


  stands, stages,easels,etc...
  How will filming/photography be used?Forpersonal use [Poronatine
 ‘oradvertising/commercial purposes?

  have expressed interest/ intent indisruptingyour event?



  location for
             a March or will be it solely used for
  demonstration purposes?
  Please confirm thatyourvendor has been made aware of| Yes
  the screening proceduresforthedayof the event (send
 off site screening information)
 Isthe spokesperson    acontractorwhohas beenhired to | Member
                                                            ofgroup
  ‘organize the event oractual memberofthe group
  planning the event?



                I:
  If thereis a March associatedwiththeevent please      A




[Has thegroup invitedPresstotheeven?                        [No               7]
        Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 90 of 91



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       SRB
     4%e)                  Demonstration Permit
      d=                       Assessment
    “ese                         [sous                                                     }
 TITLE: Women for a Great America/50+ Days of Blessing
 Demonstration
 THREAT ADVISORY: HIGHLY IMPROBABLE (January 4-6) and REMOTE (January 7-10)

 Open source reviews were negative for any planned counter-protest activity against the
 upcoming event.At this time there is no adverse intelligence related tothe upcoming event.
 Based on these findings, the Intelligence and Interagency Coordination Division assesses the
 Levelof Probabilityofacts of civil disobedience or arrests to occur during the upcoming
 ‘Women for a Great America/50+ Days of Blessing event as highly improbable for January 4-6,
 2021, and remote January 7-10, 2021.

 Background Information: Women for a Greal America describes itself as an organization seeking to
 ‘educale, engageandempower women on the issues. 50+ DaysofBlessing is aprojectof Women for a
 Great America focused onengaging in worship, praise, and prayer.

EventSummary: On Monday, January 4, 2021, between 0700 and1600 hours and. Tuesday, January
 6 through Sunday, January 10, 2021, between 0700 and2200hours, approximatelyfifty (50) persons
 representing Women for a Great America/50+ Days of Blessing, will participate in a demonstralion on
 the House East Fronl, Grassy Area 10, U.S. Capilol.

 On Tuesday, January 5, 2021, between 0700 and 1200 hours, approximatelyfifty (50) persons
 representing Womenfor a Great America/50+ Days of Blessing, will participatein a demonstration on
 the House East Front, Grassy Area 11, U.S. Capilol. The spokesperson advises the purposeofthe
 event is lo "pray and worship for our nation.” The event will consist of multiple speakers with
 congregational music interludes. The actual lime of the event each daywillbegin at 0700 hours.
 Membe     ofCongress
                   rs have been inviledlo attendIhis evenl, however, none have confirmedatthe
 time of this writing. Press hasnotbeen inviled. No civil disobedience  is planned.
1ICD
 Comment: The spokesperson suspecls nonmembers, who support the missionof Women for a
 Great America, may decide fo attend this event and the various events occurring on Capitol grounds

   WARNING: THIS DOCUMENT IS FOR OFFICIAL USEONLY. If CONTAINS INFORMATION THAT MAY BE LAW
   ENFORCEMENT SENSITIVE.
                        IT ISTO BECONTROLLED, HANDLED, STORED, TRANSMITTED, DISTRIBUTED AND
   DISPOSED OFINACCORDANCEWITHUSCPDIRECTIVE2011.002 RELATING    TOTHE HANDLI   OF CLASSIFIED
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       Case 1:21-cv-02265-APM Document 23-1 Filed 10/04/21 Page 91 of 91



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              SINS oN To] NgTTATTeI                                             VVylol)
and the U.S. Supreme Court on January 6, 2021. When questioned further, the spokesperson
repeatedly advised the same Information without further details. There are several events scheduled lo
occur in Washington, DC, on January 6, 2021, with manyofthem scheduled to occur on Capiol
grounds.
Our records indicate Women for a GreatAmerica held a prior event between October      26 —30, 2020 al
the Senale East Front, Grassy Area 9.The event concluded without any incidents. Women for a Great
America has awebpage" and social media presence on Facebook, Instagram and Twitter, No
‘adverse information was identifiedonWomen for  a GreatAmerica social media pages. 50+ Days of
Blessing has a webpage" and social media presence on Facebook” and Instagram. No adverse
informationwas identified on 50+ DaysofBlessing social media pages. Open source reviews inicale.
there are no plans for participants1oengage in actsofcivil disobedience. Ms. Hannah Bunn, (61718
     0 point of contact for the upcoming event. Basedon these findings, the Intelligence and
Inleragency Coordination Division assesses the Level of Probabiiity of actsofcivil disobediencelarrests
10 occur during the upcoming Womenfor aGreatAmerica/50+ Daysof Blessingeventas highly
improbable for January 4-6, 2021, and remole January 7-10, 2021.
Information contained In this document is currentasof 12/31/2020        @2000 hours.

 Dat Racaived ICD. 123120



                                   USCP Risk Assessment Factors
                  Tee}                                                    15%
                    Intxotat                                            20.45%
                     Probab                                            55.80%                         !
ER                                                       Treerrr
—NeayCertaln                                               ee


Sources:
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